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               EXHIBIT 1
          Declaration of
         Warden Kris Kline
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 8
 9                             UNITED STATES DISTRICT COURT
10                                    DISTRICT OF ARIZONA
11     Claudia Romero-Lorenzo, et al.,                      NO. CV-20-00901-PHX-DJH (DMF)
12                                            Plaintiffs,
                                                            DECLARATION OF WARDEN
13                   v.                                     KRIS KLINE
14     Brian Koehn, et al.,
15                                          Defendants.
16
17            I, K. Kline, make the following Declaration:
18            1.     I am over 18 years of age, and I am competent to testify to the matters set
19     forth in this Declaration. I make this Declaration based on my own personal knowledge and
20     my review of the relevant documents maintained by CoreCivic in the usual course of
21     business.
22            2.     I am currently the Warden of CoreCivic’s Central Arizona Florence
23     Correctional Complex (“CAFCC”), located in Florence, Arizona, a position I have held
24     since August 2016. 1 Prior to that, I was the Warden of CoreCivic’s Kit Carson Correctional
25     Center, located in Burlington, Colorado, for two years.
26
              1
27             CAFCC was formerly two facilities—Central Arizona Detention Center (“CADC”)
       and Florence Correctional Center (“FCC”)—both owned and operated by CoreCivic. The
28     two facilities were administratively combined into CAFCC in 2017. I was the Warden of
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 1           3.     I have been in corrections for over 20 years, having started as a Correctional
 2     Officer at CoreCivic’s Bay Correctional Facility, located in Panama City, Florida, in 2000.
 3           4.     I briefly left CAFCC in October 2020 to serve as Warden of CoreCivic’s
 4     Saguaro Correctional Center (“SCC”) in Eloy, Arizona. I returned to CAFCC as Warden
 5     on May 16, 2021.
 6           5.     This declaration supplements and incorporates my prior declarations,
 7     including attachments, at Dkt. 16-3, 23-1, 41-1, 48-1, and 57-1. Unless otherwise stated
 8     below, the conditions, policies, and procedures discussed in my prior declarations remain
 9     in place. The following statements apply to current conditions, policies, and procedures at
10     CAFCC to the extent they have changed since my prior declarations.
11           6.     All documents attached to this and my prior declarations are true and accurate
12     copies of documents generated and/or maintained in the normal course of CAFCC’s
13     business operations.
14           7.     All photographs attached to this and my prior declarations fairly and
15     accurately depict the subject matter shown in the photos, as that subject matter existed on
16     the dates the photographs were taken.
17           8.     CAFCC has a total design capacity of 5,003 detainees, with capacity for 3,900
18     USMS detainees.
19           9.     Although my prior declarations stated that CAFCC had capacity for 3,110
20     USMS detainees, 1200 Unit, which was previously closed, has since been reopened for use
21     by USMS detainees.
22           10.    As of July 22, 2022, CAFCC was operating at 84% of its design capacity,
23     with 4,222 total detainees and 3,724 USMS detainees.
24           11.    As early as January 2020, CoreCivic began monitoring the COVID-19
25     outbreak.
26
27
28     FCC when the facilities were combined.

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 1            12.    CoreCivic’s first COVID-19 screening tool was developed as early as March
 2     2020 and has been amended as new information and new symptoms have been identified
 3     by the CDC.
 4            13.    Consistent with CDC Interim Guidance, the entry screening consists of a
 5     series of questions and a temperature check with a no-touch thermometer. Staff
 6     administering the screening initially wore full PPE, including coveralls, gloves, N-95
 7     respirator, and face shield; currently, staff administering the screening wear a mask. Social
 8     distancing has been employed during the entrance screening process throughout.
 9            14.    Early in the pandemic, each day and based upon need, CoreCivic facility
10     administrators with a first COVID-19 positive test or significant change in circumstances
11     participated in a conference call with CoreCivic’s Emergency Operations Center to review
12     current and new protocols, receive CDC updates, and discuss additional concerns and
13     requests. Currently, these calls occur bi-weekly.
14            15.    Early in the pandemic, CoreCivic facility leaders also participated in a call
15     three times a week to discuss new protocols, receive CDC updates, and discuss additional
16     concerns and requests related to COVID-19 response. Currently, these calls occur as
17     needed, such as, for example, when changed circumstances require adjustments to facility
18     protocols.
19            16.    On March 12, 2020, CAFCC suspended all social visits in order to limit
20     spread of the virus. Volunteer entry was also suspended for the same reason. (Dkt. 16-3, ¶
21     63.) Social visits resumed on August 16, 2021.
22            17.    As of March 20, 2020, CAFCC stopped transporting detainees for in-person
23     court hearings, as the District of Arizona suspended in-person hearings. (Dkt. 16-3 at ¶ 68.)
24     Since the District of Arizona resumed in-person hearings and trials in March 2021, CAFCC
25     has resumed transporting detainees.
26            18.    Similarly, pursuant to USMS directives, CAFCC stopped all transports for
27     non-urgent outside medical consults as of April 2, 2020 (but continued to make emergency
28     transports as needed). (Dkt. 16-3 at ¶ 68.) Beginning in August 2020, CAFCC resumed non-

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 1     urgent transports as well subject to outside-provider-imposed restrictions on whether
 2     detainees can been seen while in quarantine, whether COVID-19 vaccination is required,
 3     etc.
 4            19.    I communicate regularly with CAFCC medical team leads, the CoreCivic
 5     Regional Health Service Administrator, and CoreCivic’s Chief Medical Officer (“CMO”)
 6     about COVID vaccine policies and programs.
 7            20.    As of July 22, 2022, CAFCC had the following PPE items in stock:
 8                   • 400 face shields
 9                   • 4,080 N-95 masks
10                   • 21,900 paper surgical masks
11                   • 2,188 pairs of gloves
12     Additionally, CAFCC maintains an inventory of 25 washable fabric coveralls for use in the
13     medical isolation areas that are laundered after each use.
14            21.    Although CAFCC stopped performing contact tracing using the facility
15     surveillance system towards the end of 2020, it has continued to conduct contact tracing by
16     interviewing persons who have tested positive for COVID-19 to identify persons with
17     whom they may have had close contact within the last 48 hours prior to their test.
18            22.    After reviewing the May 3, 2022 CDC Guidance, CoreCivic approved a
19     change from required masking to voluntary masking for staff, visitors, and detainees at each
20     facility with partner approval and if both parts of the CDC’s framework are met for a
21     particular facility: (1) the local COVID-19 community level is “low,” and (2) the Warden
22     and healthcare staff agree that the facility-based risk factors support it.
23            23.    Once a facility moves to voluntary masking, CoreCivic requires it to monitor
24     the COVID-19 community levels at the above website daily and be prepared to return to
25     mandatory masking if the community level changes to medium or high. As part of its
26     preparations, the facility must have a plan in place for mask distribution and communication
27     regarding the change to staff and inmates/detainees.
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 1            24.    On May 9, 2022, after determining that these factors supported a change to
 2     voluntary masking in consultation with facility healthcare staff, I sought and obtained
 3     USMS approval for the change.
 4            25.    On June 30, 2022, CAFCC returned to mandatory masking because of
 5     increases in community and facility transmission consistent with the above-referenced
 6     guidance.
 7            26.    For the months of June and July (through July 22) 2022, CAFCC issued
 8     60,000 bars of soap and 32,000 bottles of shampoo/body wash free of charge to detainees.
 9            27.    CAFCC does not charge any co-pays for detainees seeking any type of
10     medical evaluation or treatment.
11            28.    During intake, the nurse conducting intake reviews COVID-19 vaccine fact
12     sheets with every detainee. These fact sheets are available in both English and Spanish. This
13     information is also available in 82 other languages through the interpreter line.
14            29.    After the CDC issued its February 10, 2022 update, the cohort period was
15     shortened to 10 days. Effective June 1, 2022, CAFCC is no longer required to cohort new
16     intake USMS detainees for any period of time.
17            30.    In this scenario, the cohorts were put on a schedule that allowed each cohort
18     access to the dayroom while preventing commingling with other cohorts in the pod.
19            31.    Meals, recreation, programming, and medical services are provided on-unit
20     during quarantine.
21            32.    CAFCC also has a 12-bed infirmary that is licensed by the Arizona
22     Department of Health.
23            33.    The unit has 24-hour RN coverage and focuses on higher acuity patients.
24            34.    Prior to August 4, 2020, CAFCC policy was to test symptomatic detainees for
25     COVID-19 as determined necessary by a licensed independent medical provider based on
26     a particular detainee’s symptoms. (Dkt. 48-1 at ¶ 14.) CAFCC now also tests detainees who
27     have been in close contact with a confirmed COVID-19-positive individual, consistent with
28     CDC guidelines.

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 1            35.     Approximately 95% of CAFCC detainees are transferred to another
 2     correctional facility and are provided COVID-19 testing prior to the transfer.
 3            36.     Approximately half of the remaining 5% are released on a B&B (Bag and
 4     Baggage), which does not take place immediately, and CAFCC is able to provide COVID-
 5     19 testing prior to their release. If a test is positive, CAFCC does not have the authority to
 6     hold them. Instead, medical staff contact the Pinal County Public Health Services District
 7     and notifies them of the release and the detainee’s last known address so that the Public
 8     Health Services District can follow up with the detainee. The detainee is also issued PPR
 9     prior to leaving the facility.
10            37.     Only 2.5% of the population is released immediately from court where the
11     logistics of prerelease testing is not possible. However, each of these individuals would
12     have had a COVID-19 test done before attending court on that day, which essentially
13     becomes a prerelease COVID-19 test.
14            38.     If a detainee declines vaccination during the intake process, they are educated
15     on how they can request a vaccine in the future.
16            39.     In December 2020, CAFCC established a COVID-19 Vaccination Plan for
17     Health Services. The Vaccination Plan sets out the facility’s plan for the administration of
18     the COVID-19 vaccine, including preparation, registration, storage, tracking, reporting,
19     training, and vaccination administration measures.
20            40.     The COVID-19 Vaccination Plan was developed by CAFCC medical staff as
21     a guideline and was meant to be adapted as situations and the environment changed.
22            41.     On January 22, 2021, CAFCC began offering the COVID-19 vaccine to the
23     detainee population.
24            42.     Since CAFCC began offering the COVID-19 vaccine to detainees, it has
25     never run out of doses. When the facility’s supply of vaccine doses reaches or falls below
26     100 doses, CAFCC places an order for 100 doses through the Arizona State Health
27     Department and the ASIIS online portal. Vaccine orders are usually received within 2–3
28     business days after the order is placed. The State also provides CAFCC with supplies (i.e.,

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 1     syringes, alcohol preparation pads, face shields, masks) for every order placed at no charge
 2     to ensure that CAFCC is able to complete the task of vaccinating those in its care.
 3            43.    When CAFCC first received the vaccine, it set vaccination target dates for
 4     each housing unit. Unit staff conducted Pre-Town Hall Meetings in each housing unit
 5     approximately five days prior to vaccine administration. The Pre-Town Hall Meetings were
 6     held to notify the detainees that COVID-19 vaccines would be offered shortly and to request
 7     that the detainees begin considering whether they would consent to or refuse the vaccine.
 8            44.    Pre-Town Hall Vaccine Information sheets were provided to detainees and
 9     posted in the units after the Pre-Town Hall Meetings. The information sheets were posted
10     in each housing unit in both English and Spanish.
11            45.    Approximately two to three days prior to each housing unit’s vaccination
12     target date, medical and unit staff would conduct a Town Hall Meeting in each housing unit
13     to answer any questions about the vaccines and to distribute consent and refusal forms and
14     manufacturer fact sheets in English and Spanish. This information and documentation were
15     provided to detainees regardless of their decision to consent to or refuse the vaccine. Staff
16     also explained at this time that if any detainee refused the vaccination, they could later
17     change their mind, submit a medical request, and be placed on the list to receive a vaccine.
18            46.    The consent for vaccination form allows detainees to request a specific
19     vaccine.
20            47.    Town Hall Meetings were (and are) conducted in English and Spanish. If
21     other languages are required during the vaccination education process, the CDC has
22     handouts available in a variety of languages. The facility also has access to a language line
23     that provides telephonic interpretation services.
24            48.    CAFCC designated areas in each housing unit for purposes of vaccinating
25     detainees. These isolated vaccination areas provide detainees with privacy during their
26     vaccination, including any discussions they have with medical personnel concerning the
27     vaccine.
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 1           49.     As of March 1, 2022, 85 “vaccination events” had been held in detainee
 2     housing units.
                                                                              Number of
 3                                                                            Detainees
                                                                               Offered
 4          Date                    Location(s) / Housing Units                Vaccine
 5        03/31/21      G, J, L                                                 246
          04/07/21      1000, 1100, 400, 600, 800                               258
 6        04/16/21      1000, 1100, 400, 500, 600, L, SEG, ISO                   20
          04/22/21      1100, 1200                                              219
 7
          04/23/21      1000, 1200, 400, 500, 600, 700, G, L                     20
 8        04/27/21      700, 1200, G, Infirmary                                 146
          04/28/21      600, 900                                                284
 9        04/29/21      600, 800, 900, D, SEG                                   159
10        04/30/21      400, 500, 700, 800, 900, 1000, J                         33
          05/04/21      1000, 700                                               143
11        05/05/21      1000, 400                                               223
12        05/06/21      1000, 500, 800                                          173
          05/07/21      G, SEG                                                   54
13        05/10/21      L, J, 1000, Infirmary                                    77
14        05/12/21      J, 400, 800                                             260
          05/13/21      600, 800                                                 48
15        05/14/21      1100, 1200, 500, J                                      203
          05/17/21      J                                                        31
16
          05/18/21      G, J                                                     33
17        05/19/21      1100, 1200                                              108
          05/20/21      J                                                        25
18        05/21/21      D, F, J, L                                              129
19        05/24/21      1100, 600, F, G, SEG                                     29
          05/25/21      700, F                                                   51
20        05/26/21      600, 900, Infirmary                                     135
21        05/27/21      1100, 900, SEG                                           82
          05/28/21      1000, 1100, 1200, 400, 500, 700, 800, 900, D, F, J,      49
22                      SEG
23        06/01/21      1100, 700                                                80
          06/02/21      400, 500, G, J                                           52
24        06/03/21      1000, 400, 500, 600                                      90
          06/04/21      1000, 500, 600, D, F, G, J, SEG                          70
25
          06/07/21      1000, 1200, 400, G, J                                    29
26        06/08/21      1000, 400, 600, 700, 800                                 39
          06/09/21      1200, 400, 500, 900                                     113
27        06/10/21      1000, 1100, 1200, 600, 700, 900, G                       51
28        06/11/21      J, L,                                                    71

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 1                                                                 Number of
                                                                   Detainees
 2                                                                  Offered
         Date                   Location(s) / Housing Units         Vaccine
 3     06/14/21    J, 500, 400                                        18
 4     06/15/21    1100, 1200, 500, L                                 11
       06/16/21    D                                                   0
 5     06/18/21    J, L, 1100, 1200, D, J, L, SEG                    153
       06/22/21    D                                                   0
 6
       06/24/21    D, 1000, 400, 600, 800, 900, J                     40
 7     06/25/21    900, D, G, J, SEG                                 108
       06/29/21    1000, 1100, 500, 700, 900, F, G, J, SEG            67
 8
       06/30/21                                                       64
 9     07/02/21    1000, 500, 800, J                                 116
       07/05/21    D, J                                               34
10     07/06/21    1000, 500, 800, D, G                               19
11     07/07/21    F, J, L                                            42
       07/09/21    1000, 1100, 600, J, O                             107
12     07/13/21    J, L, 400, SEG                                     70
13     07/14/21    900, D, J                                          30
       07/15/21    1000, 400, 700, 800, 900                           22
14     07/16/21    500, 600, D, G, J                                  60
15     07/20/21    500, 800, 900, D                                   30
       07/21/21    400, 600, 700, 900                                 13
16     07/22/21    500, 800, 900, 1100                                16
       07/23/21    F, J                                               67
17
       07/27/21    400, 700, D, J, L                                  25
18     07/30/21    1000, 1100, 500, 600, 700, G, J                    76
       08/04/21    F, J, SEG                                          28
19     08/06/21    1000, 400, 500, 600, F, G, J                       63
20     08/12/21    J                                                  29
       08/13/21    1000, 400, 500, 600, 700, J                        56
21     08/16/21    D, G, J                                            20
22     08/17/21    D, J                                               31
       08/19/21    800, D, F, G, J, SEG                               51
23     08/27/21    1000, 1100, 400, 700, G, J                         85
24     08/30/21    D, J                                               32
       09/03/21    1000, 400, 500, 600, 70, 800, G, J                147
25     09/10/21    1000, 600, 800, J                                  44
       09/17/21    D, G, J, L, SEG                                   145
26
       09/24/21    1000, 500, 600, 700, D, J, SEG                    110
27     09/27/21    1000, 1100, 400, 500, 700, 800, 900               289
       10/01/21    1000, 600, D, G, J, L, SEG                        103
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 1                                                                                  Number of
                                                                                    Detainees
 2                                                                                   Offered
           Date                       Location(s) / Housing Units                    Vaccine
 3       10/08/21       1000, 1100, 400, 500, 600, 700, 800, 900, F, G, J             178
 4       10/14/21       1100, 900, G, J, SEG                                          148
         10/19/21       G, J                                                           11
 5       10/22/21       1100, J, SEG                                                   86
         10/26/21       1000, 400, 500, 600, 700, 800, 900, F, L                       33
 6
         10/29/21       1100, 400, G, J, L                                            175
 7       11/12/21       Infirmary, medical isolation, 1100, 400, 600, 700,            294
                        800, 900, F, G, J, L
 8
         11/19/21       1100, 400, 600, 700, 800, 900, D, F, G, infirmary, J,           171
 9                      L, SEG
         11/22/21       D, F, G, J                                                      141
10       11/26/21       D, J, L                                                          92
11       11/29/21       1000, 1100, 400, 900, infirmary, F, J, L                         10
         12/03/21       1100, 500, 800, L, SEG                                           90
12       12/10/21       O, medical, 1000, 1100, 400, 500, 600, 800, 900, D,             231
13                      F, G, J, L, SEG
         12/15/21       400, 600, 700, D, L, SEG                                        133
14       12/17/21       1100, 400, 500, 600, 900, D, F, G, J, SEG                        88
         12/22/21       O, medical, 1000, 1100, 400, 500, 600, 800, 900, F,              75
15
                        L, SEG
16       12/24/21       1100, G, J, L, SEG                                               97
         12/31/21       O, medical, 1000, 1100, 400, 600, 800, F, G, ISO, J,            136
17                      L
18       01/07/22       J, medical isolation, O, 1000, 1100, 400, 500, 600,              81
                        700, 800, 900, L, SEG
19       01/14/22       Infirmary, 1000, 1100, 400, 500, 600, 700, 800, 900,             64
20                      G, J, L, SEG
         02/07/22       1000, 400, 500, 600, 700                                         57
21       02/08/22       400, 500, 600                                                    45
22          50.     Since that date, no further “vaccination events” have been scheduled to occur,
23   as the vaccine has been offered to all current detainees and is now offered to new intake
24   detainees as they arrive. If a detainee consents to receive the vaccine during intake, they are
25   put on a list for administration of the vaccine after medical staff have completed the
26   tuberculosis protocols.
27          51.     In addition, CAFCC staff conducts a Town Hall Meeting for every group of
28   detainees that is scheduled to be released from the facility within 8–9 days to provide them

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 1   with information regarding vaccines. If detainees sign up to receive the vaccine, medical
 2   staff administers the vaccine the following Friday.
 3          52.     While medical staff are on-site providing the vaccine, detainees who
 4   previously refused the vaccine can notify medical staff that they have changed their mind,
 5   and staff will administer the vaccine at that time as long as doses are ready and available.
 6          53.     Detainees who refuse the vaccine and subsequently change their mind may
 7   simply submit a medical request for the vaccine and they will be placed on the request list.
 8   Once the detainee is on the list, CAFCC medical staff will work through the list to vaccinate
 9   those detainees throughout the facility as soon as possible, as resources are available, and
10   as time permits. CAFCC’s priority is to ensure all detainees are offered the vaccine and that
11   no detainee who wants to receive the vaccine is missed.
12          54.     All detainees who receive the vaccine also receive a CDC vaccine card that
13   states the type of vaccine they received and the date they received it; they are allowed to
14   keep the card in their cell. “Pre-release” detainees who have received the Moderna vaccine
15   are also provided with a COVID-19 Moderna Vaccine Follow Up – Community Release
16   pamphlet in both English and Spanish as well as a handout with local health department
17   contacts.
18          55.     Detainees who receive the first dose of the Moderna vaccine at CAFCC but
19   are released before receiving their second dose of the vaccine are provided information
20   about when they received their first dose and where and when they can get the second dose
21   after their release.
22          56.     Detainees are educated about booster shots as part of the COVID-19 vaccine
23   education process.
24          57.     There are several avenues through which detainees can request a booster shot,
25   including submitting a request form or speaking to a staff member.
26          58.     Any staff member at CAFCC can point a detainee who wants to receive a
27   booster shot in the right direction; also, detainees are provided education about booster shots
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 1   during intake, postings in the housing units provide information about booster shots, and
 2   medical and unit staff provide information about booster shots in town hall meetings.
 3          59.    The CAFCC medical department and Communicable and Infectious Disease
 4   (“CID”) nurses track detainees who receive a booster.
 5          60.    Despite the availability of vaccinations, CAFCC’s COVID-19 mitigation plan
 6   remains largely the same as it has been throughout the pandemic, including but not limited
 7   to:
 8                 • Encouraging social distancing
 9                 • Encouraging vaccinations
10                 • Encouraging mask use
11                 • Testing symptomatic detainees
12                 • Quarantining detainees suspected of having COVID19
13                 • Medically isolating detainees with confirmed COVID19
14                 • Testing new intakes
15                 • Testing on discharge or transfer
16                 • Signage/education regarding the dangers of COVID19
17                 • Cooperation of medical staff with the Pinal County Public Health Services
18                    District for access to vaccines, testing, and program analysis.
19          61.    In accordance with CDC Interim Guidance, educational materials have been
20   posted throughout the facility and in all housing units regarding COVID-19 symptoms, what
21   to do if you are sick, hand-washing, sanitation and cleanliness, mask use, steps to reduce
22   the risk of exposure; social distancing, how to report, who to report to, vaccines, and
23   boosters. These are updated based on any new information the CDC distributes.
24          62.    Medical staff who are authorized to administer the vaccine are also provided
25   education as to CDC Guidance as it pertains to vaccines, complications, symptoms that may
26   appear after receiving the vaccine, etc. so they can answer detainee questions.
27          63.    CAFCC updates COVID-19 information posted in the units to keep staff and
28   detainees informed of new information so that everyone is safe.

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 1          64.    COVID-19 vaccines are available at CAFCC for all staff and detainees, and
 2   CAFCC encourages staff and detainees to become vaccinated.
 3          65.    Programming was reduced, but not eliminated, during the early days of the
 4   pandemic, and was limited to groups of less than 10 to comply with applicable guidelines
 5   and to allow six feet of social distancing. In-person programming returned to pre-pandemic
 6   levels in July 2021.
 7          66.    All detainees also have access to a wide variety of programming and classes
 8   on tablets. These offerings include mental health programming, self-help classes, job skills,
 9   education, and religious classes. Programming is available in both English and Spanish.
10          67.    Detainees can access the following content provided by a third-party vendor
11   through the tablets:
12    Time Management
13    Substance Abuse Education
14    Starter U - Inmates to Entrepreneurs: 3 - Additional Things To Know/Closing
15    Starter U - Inmates to Entrepreneurs: 2 - Growing Your Business
16    Starter U - Inmates to Entrepreneurs: 1 - Introduction and Getting your Business Off the
17    Ground
18    Skillsoft: Understanding Unconscious Bias
19    Skillsoft: Uncovering and Utilizing Your Talents and Skills
20    Skillsoft: The Essentials for Anger Management
21    Skillsoft: The Art of Staying Focused
22    Skillsoft: Solving Problems: Generating and Evaluating Alternatives
23    Skillsoft: Self-improvement for Lifelong Success
24    Skillsoft: Receiving Feedback
25    Skillsoft: Reaching Sound Conclusions
26
      Skillsoft: Planning an Effective Presentation
27
      Skillsoft: Overcoming Your Own Unconscious Biases
28

                                                   13
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 1
     Skillsoft: Overcoming Unconscious Bias in the Workplace
 2
     Skillsoft: Managing Pressure and Stress to Optimize Your Performance
 3
     Skillsoft: Making and Carrying Out Tough Decisions
 4
     Skillsoft: Make the Time You Need: Get Organized
 5
     Skillsoft: Interpersonal Communication: Communicating with Confidence
 6
     Skillsoft: Interacting with Customers
 7
     Skillsoft: Establishing Self-confidence for Life
 8
     Skillsoft: Ensuring Successful Presentation Delivery
 9
     Skillsoft: Difficult People: Why They Act That Way and How to Deal with Them
10
     Skillsoft: Cultivating Relationships with Your Peers
11
     Skillsoft: Choosing and Using the Best Solution
12
     Skillsoft: Building Your Presentation
13
     Skillsoft: Become a Great Listener
14
     Skill Based Education
15
     Returning Citizen's Magazine - September 2021
16
17   Returning Citizen's Magazine - October 2020

18   Returning Citizen's Magazine - November 2020

19   Returning Citizen's Magazine - May 2022

20   Returning Citizen's Magazine - May 2021

21   Returning Citizen's Magazine - March 2021

22   Returning Citizen's Magazine - June 2022

23   Returning Citizen's Magazine - July 2021

24   Returning Citizen's Magazine - January 2022

25   Returning Citizen's Magazine - January 2021

26   Returning Citizen's Magazine - February 2021

27   Returning Citizen's Magazine - December 2021
28   Returning Citizen's Magazine - December 2020

                                                  14
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 1
     Returning Citizen's Magazine - August 2021
 2
     Returning Citizen's Magazine - April 2021
 3
     Recursos de carrera (Career Resources)
 4
     Presentation Skills
 5
     Preparación para el trabajo (Job Readiness)
 6
     Peace Education Program
 7
     Paquete de identificación (Identification Package)
 8
     My SWOT - How to use your Knowledge
 9
     MANdentity
10
     Job Readiness
11
     Identification Package
12
     i-Pathways Test Preparation Course: Social Studies
13
     i-Pathways Test Preparation Course: Science
14
     i-Pathways Test Preparation Course: Math update
15
     i-Pathways Test Preparation Course: Literacy
16
17   i-Pathways Test Preparation Course: Basic Writing

18   i-Pathways Test Preparation Course: Basic Math

19   Healthy Coping Skills

20   Health Education

21   Haciendo ejercicio (Exercising)

22   Habilidades de presentación (Presentation Skills)

23   Habilidades de afrontamiento saludables (Healthy Coping Skills)

24   Gestión del tiempo (Time Management)

25   Financial Literacy

26   Family and Community Reunification

27   Expectations and Outcomes
28   Exercising

                                                   15
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 1
     Entrepreneurship
 2
     Emprendimiento (Entrepreneurship)
 3
     Educación Financiera (Financial Literacy) - update
 4
     Educación de Abuso de Sustancias (Substance Abuse Education)
 5
     Educación Básica (Basic Education)
 6
     Educación Basada en Habilidades (Skill Based Education)
 7
     Control de la ira (Anger Management)
 8
     Contemporary Technology Skills - v2
 9
     Conflict Resolution
10
     Career Resources
11
     Cambio de comportamiento (Behavior Change)
12
     Behavior Change
13
     Basic Education
14
     Anger Management
15
     Reunificación familiar y comunitaria (Family and Community Reunification)
16
17   Mi SWOT - Cómo usar tus conocimientos (My SWOT - How to use your Knowledge)

18   La resolución de conflictos (Conflict Resolution)

19   Habilidades tecnológicas contemporáneas (Contemporary Technology Skills)

20   Expectativas y resultados (Expectations and Outcomes)

21   Educación para la salud (Health Education)

22        68.    Detainees also have access to classes that are taught in the units:

23   Assertive Communication

24   Building Social Networks

25   Cognitive Model

26   Getting Motivated to Change

27   Gratitude Journals
28   Ideas for Better Communication

                                                  16
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 1
     Life Skills
 2
     Strengths and Qualities
 3
     Strengths Exploration
 4
     Understanding and Reducing Angry Feelings
 5
     Unlock Your Thinking and Open Your Mind
 6
     Values Clarification
 7
     Partners in Parenting
 8
     Creative Writing
 9
     Daily Life
10
     Seeking Safety
11
     Core Skills
12
     Resume Writing
13
     Anger Management
14
     Teamwork and Creative Problem Solving
15
           69.     For July 2022, CAFCC offered the following religious classes:
16
17   Monday                  Lunes

18   7:30am-8:30am           USMS High Custody Catholic Service G-Unit Bilingual

19   8:35am-9:35am           USMS Low Custody Catholic Service G & J-Units Bilingual

20   12:45pm-                USMS High Custody Relationship & Marriage Enrichment

21   2:15pm                  Class G-Unit

22   Tuesday                 Martes

23   7:30am-8:30am           USMS High Custody Christian Bible Study G-Unit Bilingual

24   8:40am-                 D-Unit Catholic High Custody Bilingual (1st & 3rd Tuesdays

25   10:20am                 of month)

26   8:40am-                 D-Unit Christian Service/Study Low Custody Bilingual (2nd &

27   10:20am                 4th Tuesdays of month)

28

                                                  17
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 1
                      USMS Low Custody Christian Service G-Unit & JA-JB Pods
 2
     1:15pm-2:25pm    Bilingual
 3
     Wednesday        Miercoles
 4
                      USMS Low Custody Christian Bible Study G-Unit & JA-JB
 5
     7:00am-8:30am    Pod Bilingual
 6
     8:30am-          USMS Low Custody Relationship & Marriage Enrichment
 7
     10:15am          Class G-Unit
 8
     1:15pm-2:40pm    USMS High Custody Christian Service G-Units Bilingual
 9
     Thursday         Jueves
10
     7:00am-
11
     11:30am          F-Unit Mesa Unit Relgious Pod Rounds
12
     7:00am-          USMS G & J-Unit Low Custody Native American Sweat
13
     11:30am          Lodge Cermony(2nd Thursday of month)
14
     7:00am-          USMS G-Unit High Custody Native American Sweat Lodge
15
     11:30am          Cermony(4th Thursday of month)
16
     7:00am-          USMS L-Unit Native American Sweat Lodge Cermony(5th
17
     11:30am          Thursdays of Month)
18
     12:45pm-         D-Unit Christian Service/Study High Custody Bilingual (1st &
19
     2:15pm           3rd Tuesdays of month)
20
     12:45pm-         D-Unit Christian Service/Study Low Custody Bilingual (2nd &
21
     2:15pm           4th Tuesdays of month)
22
     Friday           Viernes
23
                      USMS G-Unit & JA-JB Low Custody Native American
24
     7:00am-8:30am    Culture/Religion Class(1st Friday of month)
25
                      USMS        G-Unit    High   Custody     Native   American
26
     7:00am-8:30am    Culture/Religion Class(3rd Friday of month)
27
28

                                             18
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 1
      11:55am-              USMS G-Unit & JA-JB Low Custody Muslim Jumah Prayer
 2
      1:00pm                (1st & 3rd Friday of month if needed)
 3
      11:55am-              USMS G-Unit High Custody Muslim Jumah Prayer (2nd & 4th
 4
      1:00pm                Friday of month if needed)
 5
            70.    Arizona courts issued administrative orders continuing trials and cancelling
 6
     most in-person appearances during the early stages of the pandemic. For example, on March
 7
     13, 2020, the District Court of Arizona continued all civil and criminal jury trials that were
 8
     scheduled to begin before April 10, 2020.
 9
            71.    In addition to attorney-client visits, the VTC system is used for court
10
     appearances, including probation interviews, initial appearances, and other court hearings.
11
     At its highest point, CAFCC was facilitating approximately 650–700 such uses each week.
12
     Now that the federal courts are allowing in-person appearances again, CAFCC facilitates
13
     approximately 50 uses each week.
14
            72.    Between April 2020 and July 2022, a total of 44,703 USMS detainees have
15
     cycled through CAFCC.
16
            73.    In the same period, a total of 1,782 USMS detainees tested positive for
17
     COVID-19 (560 in 2020, 516 in 2021, and 706 in 2022). In other words, only 3.9%
18
     (1,782/44,703) of USMS detainees at CAFCC have tested positive for COVID-19 since the
19
     start of the pandemic and since testing became available.
20
            74.    During that same time period, only 594 staff members have tested positive
21
     for COVID-19. CAFCC maintains approximately 569 people on staff at any given time,
22
     and has had 2,377 total staff members during that time period.
23
            75.    Since the pandemic started, there have been two detainee deaths and five staff
24
     member deaths due to COVID-19.
25
            76.    Between January 22, 2021, when CAFCC began offering the COVID-19
26
     vaccine, and July 22, 2022, a total of 13,089 detainees have been offered a COVID-19
27
     vaccine at CAFCC, including 9,967 USMS detainees.
28

                                                   19
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 1          77.    A total of 2,785 USMS detainees have received at least one dose of a COVID-
 2   19 vaccine at CAFCC, and 2,657 have been fully vaccinated at CAFCC (i.e., they have
 3   received either two doses of the Moderna vaccine or one dose of the Johnson & Johnson
 4   vaccine).
 5          78.    As of July 22, 2022, 1,700 USMS detainees have received the Johnson &
 6   Johnson vaccine, 1,085 USMS detainees have received the first dose of the Moderna
 7   vaccine, 957 USMS detainees have received the second dose of the Moderna vaccine, and
 8   256 USMS detainees have received a booster shot while incarcerated at CAFCC; 8,265
 9   USMS detainees have exercised their right to refuse the vaccine.
10          79.    As of July 22, 2022, the total USMS population at CAFCC was 3,724. Of
11   those, 10% were fully vaccinated. This number includes only detainees who became fully
12   vaccinated at CAFCC, as there is no reliable way to confirm that new intake detainees who
13   claim to be partially or fully vaccinated are so vaccinated, such that the percentage of USMS
14   detainees at CAFCC who are fully vaccinated may be higher.
15          80.    As of February 16, 2022, approximately 61% of staff members had received
16   the COVID-19 vaccine.
17          81.    On June 2, 2021, CAFCC was accredited by the National Commission on
18   Correctional Health Care (“NCCHC”) following a rigorous on-site survey conducted on
19   March 29–31, 2021, recognizing CAFCC’s dedication to compliance with the most
20   respected standards in correctional health care.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28

                                                   20
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                EXHIBIT 3
      Declaration of C. Rose
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1    cohort period would last for 14 days. After the CDC issued its February 10, 2022 update
2    to its COVID-19 guidance, the cohort period was shortened to 10 days. Effective June 1,
3    2022, CAFCC is no longer required to cohort USMS detainees for any period of time.
4          13.       Early in the pandemic, every new intake was offered a COVID-19 PCR test
5    during the intake process, although they had the right to refuse. Effective July 19, 2022,
6    all new intakes are swabbed with a rapid swab during the intake process. This includes
7    detainees that arrive throughout the weekend.
8          14.       New intakes also receive a medical screening that incudes a full set of vitals,
9    including temperature and 02 saturation, and questions regarding any chronic health
10   conditions the detainee may have.
11         15.       While CAFCC was cohorting new intakes, detainees in an intake cohort
12   received additional testing and screening during the cohort period only if they showed or
13   reported symptoms of COVID-19. In that event, CAFCC removed the detainee showing
14   or reporting symptoms from the pod and into medical isolation and converted the cohort
15   to a quarantine pod.
16          16.      At the completion of the cohort period, staff gave the detainees a final
17   temperature and symptom screening. If none of the detainees displayed a temperature of
18   100.4 or above or any other symptoms of COVID-19, the cohort was cleared for housing
19   in general population.
20             17.   Unit Managers, Case Managers, Correctional Counselors, and Detention
21   Officers all receive training on how to conduct temperature and symptom screening and
22   were typically the staff members who conducted the screenings at the end of the cohort
23   period.
24             18.   Unit staff tracked cohorts using dedicated spreadsheets. Medical staff track
25   medical isolation detainees and quarantine pods using dedicated spreadsheets.
26             19.   A detainee who is suspected of having COVID-19 due to symptoms or who
27   has tested positive for COVID-19 is housed in medical isolation for 10 days after their
28   symptoms start.
                                                    3
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        ATTACHMENT A
    TO DECLARATION OF
         C. ROSE
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            COVID-19 VACCINE FACTS
            •       Safe and up to 95% effective
            •       May require two doses
            •       Will not give you COVID-19 or cause you to test positive
            •       May prevent you from becoming seriously ill
            •       Helps protect those around you from getting sick

            • May cause side-effects similar to the flu shot:
              » Pain at the injection site     » Muscle Aches
              » Fever                          » Chills
              » Fatigue

                                                     • Side effects are normal and
                                                       are a good sign that you’re
                                                       building immunity
                                                     • May benefit those who have
                                                       already recovered from
                                                       COVID-19
                                                     • Vaccine supplies will
                                                       increase over the coming
                                                       weeks
                                                     • Follow facility guidelines
                                                       for preventative measures
                                                       such as masking and social
                                                       distancing

                        Questions? Connect with the Health Services Department
                                     today for the latest information.
Revised June 2021

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                INFORMACIÓN ACERCA DE LA
                VACUNA CONTRA EL COVID-19
            •       Es segura y hasta un 95% eficaz
            •       Es posible que requiera dos dosis
            •       No le transmite el COVID-19 o causa que dé positiva la prueba
            •       Puede impedir que se enferme de gravedad
            •       Ayuda a proteger de la enfermedad a las personas que le rodean

            • Puede causar efectos secundarios similares a los de la vacuna contra la gripe:
                    » Dolor en el área de la inyección    » Dolores musculares
                    » Fiebre                              » Escalofríos
                    » Fatiga


                                                          • Los efectos secundarios son
                                                            normales y son una buena señal
                                                            de que está creando inmunidad
                                                          • Puede beneficiar a las personas
                                                            que ya se han recuperado del
                                                            COVID-19
                                                          • En las próximas semanas habrá
                                                            más suministros de vacunas
                                                          • Siga las pautas de la instalación
                                                            para las medidas preventivas,
                                                            como el enmascaramiento y el
                                                            distanciamiento social


            ¿Preguntas? Comuníquese con el Departamento de Servicios de Salud
                          para obtener información más actualizada.
Revised June 2021

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    HERE IS THE SCOOP ON COVID 19
VACCINES & BOOSTERS…………………!!!!!
If you have changed, your mind and now are requesting the COVID 19
vaccine you can do the following:
     ‐ Submit a medical health request and place the form in the medical box in
       your housing unit. Include your name, number, and housing location.
Request Boosters: You can request as above. Please include the name of
the COVID 19 vaccine & the date you last received your vaccine.
     ‐ Boosters will be given by priority of those considered "high risk"
       per CDC and then by a first come first serve basis from when
       medical receives your health request.
     ‐ Moderna vaccines must wait 5 months from your last dose
     ‐ J&J vaccines must wait 2 months from last dose before you are
       eligible for the booster
If you have received a dose of a vaccine OTHER than Moderna or J&J, and would
like a second dose or a booster, please submit a request & you will be referred to
medical.

COVID 19 vaccines will be given during clinic days and
hours (these are subject to change).




                                                                   2/3/2022

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     AQUÍ ESTÁ LA VISTA DE LAS VACUNAS Y
REFUERZOS COVID 19 …………………………!!!!!
Si ha cambiado de opinión y ahora solicita la vacuna COVID 19, puede
hacer lo siguiente:
‐ Envíe una solicitud de salud médica y coloque el formulario en la caja médica de
su unidad de vivienda. Incluya su nombre, número y ubicación de la vivienda.
Solicitar potenciadores: puede solicitar lo anterior. Incluya el nombre de la vacuna
COVID 19 y la fecha en que recibió la vacuna por última vez.
‐ Los refuerzos se darán por prioridad de aquellos considerados de "alto riesgo"
por los CDC y luego por orden de llegada desde el momento en que el médico
reciba su solicitud de salud.
‐ Vacunas Moderna debes esperar 5 meses desde tu última dosis
‐ Vacunas J&J, debe esperar 2 meses desde la última dosis antes de ser elegible
para el refuerzo.
Si recibió una dosis de una vacuna que NO sea Moderna o J&J, y desea una
segunda dosis o un refuerzo, envíe una solicitud y lo derivarán a un médico.


Las vacunas COVID 19 se administrarán durante los días y horas
de la clínica (están sujetas a cambios).




                                                                   2/3/2022

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         ATTACHMENT B
    TO DECLARATION OF
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 Talking points ‐ updated 2/2022

 (A Spanish speaking staff member will have to be a available for translation. Pause after every point in
 order for time for translation.)

 We onboarded with the State and County last year, these are still federal vaccines allocated to our
 facility, not a CoreCivic vaccine.

 We are giving all detainees the opportunity to get the vaccine and the booster

 The vaccine has not been mandated, it is a personal choice.

 J&J is a one time dose –for those that will be transferred, you will be considered vaccinated once
 transferring to the next facility; this is a large amount of our population.

 Moderna is 2 doses, the second dose is 28 days after the first dose.

 The Moderna booster is 2 months after the J&J or 5 months after the Moderna series

 You will all receive 3 forms, a consent/refusal, a screening form, and a fact sheet, even if you refuse

 The consent/refusal and screening form will need to be turned in to your unit team so that the vaccine
 team will know how many vials to pull the day of the vaccine

 If you first refused and then change your mind, you will be added to a vaccine list and we will backfill
 clinics with those that are on that list

 If you are requesting a booster and :

         ‐     received a vaccine prior to arriving here (CAFCC) please submit a medical request, medical
               will verify your information and let you know if you are eligible
         ‐     received a vaccine in another country, please submit a medical request and medical will
               review your status.

 Contraindications are on the fact sheet

 Side effects are on the fact sheet

 We will utilize a general area to vaccinate, you will get vaccinated after we review your forms, and you
 will be observed for 15‐30 minutes

 We do have to place on your transfer summary, when you leave, that is for your reference. This does
 not have anything to do with legal, or your case.

 You will receive the CDC Vaccine card as proof of vaccination

 Questions for detainees/staff

 If you have a specific medical question, you may place a medical request and you will be seen by a
 facility provider.




 [Type here]                                                                                          2/2022



                                                                                    CORECIVIC-MLG003510
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        ATTACHMENT C
    TO DECLARATION OF
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                  FACT SHEET FOR RECIPIENTS AND CAREGIVERS

               EMERGENCY USE AUTHORIZATION (EUA) OF
 THE JANSSEN COVID-19 VACCINE TO PREVENT CORONAVIRUS DISEASE 2019
         (COVID-19) IN INDIVIDUALS 18 YEARS OF AGE AND OLDER

You are being offered the Janssen COVID-19 Vaccine to prevent Coronavirus Disease 2019
(COVID-19) caused by SARS-CoV-2. This Fact Sheet contains information to help you
understand the risks and benefits of receiving the Janssen COVID-19 Vaccine, which you may
receive because there is currently a pandemic of COVID-19.

The Janssen COVID-19 Vaccine may prevent you from getting COVID-19.

Read this Fact Sheet for information about the Janssen COVID-19 Vaccine. Talk to the vaccination
provider if you have questions. It is your choice to receive the Janssen COVID-19 Vaccine.

The Janssen COVID-19 Vaccine has received EUA from FDA to provide:

   A single dose primary vaccination to individuals 18 years of age and older.

   A single booster dose to individuals 18 years of age and older who have completed a primary
    vaccination with the Janssen COVID-19 Vaccine.

   A single booster dose to individuals 18 years of age and older who have completed primary
    vaccination with a different authorized or approved COVID-19 vaccine.

The Janssen COVID-19 Vaccine may not protect everyone.

This Fact Sheet may have been updated. For the most recent Fact Sheet, please visit
www.janssencovid19vaccine.com.

WHAT YOU NEED TO KNOW BEFORE YOU GET THIS VACCINE

WHAT IS COVID-19?

COVID-19 is caused by a coronavirus called SARS-CoV-2. This type of coronavirus has not been
seen before. You can get COVID-19 through contact with another person who has the virus. It is
predominantly a respiratory illness that can affect other organs. People with COVID-19 have had
a wide range of symptoms reported, ranging from mild symptoms to severe illness. Symptoms
may appear 2 to 14 days after exposure to the virus. Common symptoms may include: fever or
chills; cough; shortness of breath; fatigue; muscle or body aches; headache; new loss of taste or
smell; sore throat; congestion or runny nose; nausea or vomiting; diarrhea.

WHAT IS THE JANSSEN COVID-19 VACCINE?

The Janssen COVID-19 Vaccine is an unapproved vaccine that may prevent COVID-19.


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The FDA has authorized the emergency use of the Janssen COVID-19 Vaccine to prevent
COVID-19 in individuals 18 years of age and older under an Emergency Use Authorization
(EUA).

For more information on EUA, see the “What is an Emergency Use Authorization (EUA)?”
section at the end of this Fact Sheet.

WHAT SHOULD YOU MENTION TO YOUR VACCINATION PROVIDER BEFORE
YOU GET THE JANSSEN COVID-19 VACCINE?

Tell the vaccination provider about all of your medical conditions, including if you:

   have any allergies,

   have a fever,

   have a bleeding disorder or are on a blood thinner,

   have ever had a low level of platelets (blood cells that help your body stop bleeding),

   are immunocompromised or are on a medicine that affects your immune system,

   are pregnant or plan to become pregnant,

   are breastfeeding,

   have received another COVID-19 vaccine,

   have ever fainted in association with an injection.
WHO SHOULD GET THE JANSSEN COVID-19 VACCINE?

FDA has authorized the emergency use of the Janssen COVID-19 Vaccine in individuals 18 years
of age and older.

WHO SHOULD NOT GET THE JANSSEN COVID-19 VACCINE?

You should not get the Janssen COVID-19 Vaccine if you:

   had a severe allergic reaction after a previous dose of this vaccine.

   had a severe allergic reaction to any ingredient of this vaccine.

   had a blood clot along with a low level of platelets (blood cells that help your body stop
    bleeding) following Janssen COVID-19 Vaccine or following AstraZeneca’s COVID-19
    vaccine (not authorized or approved in the United States).
WHAT ARE THE INGREDIENTS IN THE JANSSEN COVID-19 VACCINE?

The Janssen COVID-19 Vaccine includes the following ingredients: recombinant,
replication-incompetent adenovirus type 26 expressing the SARS-CoV-2 spike protein, citric acid
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monohydrate, trisodium citrate dihydrate, ethanol, 2-hydroxypropyl-β-cyclodextrin (HBCD),
polysorbate-80, sodium chloride.

HOW IS THE JANSSEN COVID -19 VACCINE GIVEN?

The Janssen COVID-19 Vaccine will be given to you as an injection into the muscle.

Primary Vaccination

The Janssen COVID-19 Vaccine is administered as a single dose.

Booster Dose

   A single booster dose of the Janssen COVID-19 Vaccine may be administered at least two
    months after primary vaccination with the Janssen COVID-19 Vaccine.

   A single booster dose of the Janssen COVID-19 Vaccine may be administered to individuals
    18 years of age and older who have completed primary vaccination with a different authorized
    or approved COVID-19 vaccine. Please check with your health care provider regarding timing
    of the booster dose.

HAS THE JANSSEN COVID-19 VACCINE BEEN USED BEFORE?

The Janssen COVID-19 Vaccine is an unapproved vaccine. In clinical trials, more than 61,000
individuals 18 years of age and older have received the Janssen COVID-19 Vaccine. Millions of
individuals have received the vaccine under EUA since February 27, 2021.

WHAT ARE THE BENEFITS OF THE JANSSEN COVID-19 VACCINE?

The Janssen COVID-19 Vaccine has been shown to prevent COVID-19. The duration of protection
against COVID-19 is currently unknown.

WHAT ARE THE RISKS OF THE JANSSEN COVID-19 VACCINE?

Side effects that have been reported with the Janssen COVID-19 Vaccine include:

   Injection site reactions: pain, redness of the skin and swelling.

   General side effects: headache, feeling very tired, muscle aches, nausea, and fever.

   Swollen lymph nodes.

   Blood clots.

   Unusual feeling in the skin (such as tingling or a crawling feeling) (paresthesia), decreased feeling
    or sensitivity, especially in the skin (hypoesthesia).

   Persistent ringing in the ears (tinnitus).


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   Diarrhea, vomiting.

Severe Allergic Reactions
There is a remote chance that the Janssen COVID-19 Vaccine could cause a severe allergic
reaction. A severe allergic reaction would usually occur within a few minutes to one hour after
getting a dose of the Janssen COVID-19 Vaccine. For this reason, your vaccination provider may
ask you to stay at the place where you received your vaccine for monitoring after vaccination.
Signs of a severe allergic reaction can include:

   Difficulty breathing,

   Swelling of your face and throat,

   A fast heartbeat,

   A bad rash all over your body,

   Dizziness and weakness.
Blood Clots with Low Levels of Platelets
Blood clots involving blood vessels in the brain, lungs, abdomen, and legs along with low levels
of platelets (blood cells that help your body stop bleeding), have occurred in some people who
have received the Janssen COVID-19 Vaccine. In people who developed these blood clots and
low levels of platelets, symptoms began approximately one to two weeks after vaccination. Blood
clots with low levels of platelets following the Janssen COVID-19 Vaccine have been reported in
males and females, across a wide age range of individuals 18 years and older; reporting has been
highest in females ages 30 through 49 years (about 1 case for every 100,000 vaccine doses
administered), and about 1 out of every 7 cases has been fatal. You should seek medical attention
right away if you have any of the following symptoms after receiving the Janssen COVID-19
Vaccine:
   Shortness of breath,

   Chest pain,

   Leg swelling,

   Persistent abdominal pain,

   Severe or persistent headaches or blurred vision,

   Easy bruising or tiny blood spots under the skin beyond the site of the injection.
Immune Thrombocytopenia (ITP)
Immune Thrombocytopenia (ITP) is a disorder that can cause easy or excessive bruising and
bleeding due to very low levels of platelets. ITP has occurred in some people who have received
the Janssen COVID-19 Vaccine. In most of these people, symptoms began within 42 days following
receipt of the Janssen COVID-19 Vaccine. The chance of having this occur is very low. If you have
ever had a diagnosis of ITP, talk to your vaccination provider before you get the Janssen COVID-

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19 Vaccine. You should seek medical attention right away if you develop any of the following
symptoms after receiving the Janssen COVID-19 Vaccine:

     Easy or excessive bruising or tiny blood spots under the skin beyond the site of the injection,

     Unusual or excessive bleeding.

Guillain Barré Syndrome
Guillain Barré syndrome (a neurological disorder in which the body’s immune system damages
nerve cells, causing muscle weakness and sometimes paralysis) has occurred in some people who
have received the Janssen COVID-19 Vaccine. In most of these people, symptoms began within
42 days following receipt of the Janssen COVID-19 Vaccine. The chance of having this occur is
very low. You should seek medical attention right away if you develop any of the following
symptoms after receiving the Janssen COVID-19 Vaccine:

     Weakness or tingling sensations, especially in the legs or arms, that’s worsening and spreading
      to other parts of the body.

     Difficulty walking.

     Difficulty with facial movements, including speaking, chewing, or swallowing.

     Double vision or inability to move eyes.

     Difficulty with bladder control or bowel function.

These may not be all the possible side effects of the Janssen COVID-19 Vaccine. Serious and
unexpected effects may occur. The Janssen COVID-19 Vaccine is still being studied in clinical
trials.

WHAT SHOULD I DO ABOUT SIDE EFFECTS?

If you experience a severe allergic reaction, call 9-1-1, or go to the nearest hospital.

Call the vaccination provider or your healthcare provider if you have any side effects that bother
you or do not go away.

Report vaccine side effects to FDA/CDC Vaccine Adverse Event Reporting System (VAERS).
The       VAERS       toll-free   number    is    1-800-822-7967   or   report   online   to
https://vaers.hhs.gov/reportevent.html. Please include “Janssen COVID-19 Vaccine EUA” in the
first line of box #18 of the report form.

In addition, you can report side effects to Janssen Biotech, Inc. at the contact information provided
below.

               e-mail                       Fax number                  Telephone numbers
    JNJvaccineAE@its.jnj.com                215-293-9955            US Toll Free: 1-800-565-4008

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                                                                    US Toll: (908) 455-9922

You may also be given an option to enroll in v-safe. V-safe is a new voluntary smartphone-based
tool that uses text messaging and web surveys to check in with people who have been vaccinated
to identify potential side effects after COVID-19 vaccination. V-safe asks questions that help CDC
monitor the safety of COVID-19 vaccines. V-safe also provides live telephone follow-up by CDC
if participants report a significant health impact following COVID-19 vaccination. For more
information on how to sign up, visit: www.cdc.gov/vsafe.

WHAT IF I DECIDE NOT TO GET THE JANSSEN COVID-19 VACCINE?

It is your choice to receive or not receive the Janssen COVID-19 Vaccine. Should you decide not
to receive it, it will not change your standard medical care.

ARE OTHER CHOICES AVAILABLE FOR PREVENTING COVID-19 BESIDES
JANSSEN COVID-19 VACCINE?

Other choices for preventing COVID-19 are COMIRNATY and SPIKEVAX, which are FDA-
approved COVID-19 vaccines. Other vaccines to prevent COVID-19 may be available under
Emergency Use Authorization.

CAN I RECEIVE THE JANSSEN COVID-19 VACCINE AT THE SAME TIME AS
OTHER VACCINES?

Data have not yet been submitted to FDA on administration of the Janssen COVID-19 Vaccine at
the same time as other vaccines. If you are considering receiving the Janssen COVID-19 Vaccine
with other vaccines, discuss your options with your healthcare provider.

WHAT IF I AM PREGNANT OR BREASTFEEDING?

If you are pregnant or breastfeeding, discuss your options with your healthcare provider.

WILL THE JANSSEN COVID-19 VACCINE GIVE ME COVID-19?

No. The Janssen COVID-19 Vaccine does not contain SARS-CoV-2 and cannot give you
COVID-19.

KEEP YOUR VACCINATION CARD

When you receive the Janssen COVID-19 Vaccine, you will get a vaccination card to document
the name of the vaccine and date of when you received the vaccine.

ADDITIONAL INFORMATION

If you have questions or to access the most recent Janssen COVID-19 Vaccine Fact Sheets, scan
the QR code using your device, visit the website or call the telephone numbers provided below.


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       QR Code                  Fact Sheets Website                     Telephone numbers
                           www.janssencovid19vaccine.com.           US Toll Free: 1-800-565-4008
                                                                      US Toll: (908) 455-9922




HOW CAN I LEARN MORE?

   Ask the vaccination provider.

   Visit CDC at https://www.cdc.gov/coronavirus/2019-ncov/index.html.

   Visit FDA at https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-
    regulatory-and-policy-framework/emergency-use-authorization.
Contact your local or state public health department.

WHERE WILL MY VACCINATION INFORMATION BE RECORDED?

The vaccination provider may include your vaccination information in your state/local
jurisdiction’s Immunization Information System (IIS) or other designated system. For more
information about IISs visit: https://www.cdc.gov/vaccines/programs/iis/about.html.

CAN I BE CHARGED AN ADMINISTRATION FEE FOR RECEIPT OF THE COVID-19
VACCINE?

No. At this time, the provider cannot charge you for a vaccine dose and you cannot be charged an
out-of-pocket vaccine administration fee or any other fee if only receiving a COVID-19
vaccination. However, vaccination providers may seek appropriate reimbursement from a program
or plan that covers COVID-19 vaccine administration fees for the vaccine recipient (private
insurance, Medicare, Medicaid, HRSA COVID-19 Uninsured Program for non-insured
recipients).

WHERE CAN I REPORT CASES OF SUSPECTED FRAUD?

Individuals becoming aware of any potential violations of the CDC COVID-19 Vaccination
Program requirements are encouraged to report them to the Office of the Inspector General, U.S.
Department of Health and Human Services, at 1-800-HHS-TIPS or TIPS.HHS.GOV.

WHAT IS THE COUNTERMEASURE INJURY COMPENSATION PROGRAM?

The Countermeasures Injury Compensation Program (CICP) is a federal program that may help
pay for costs of medical care and other specific expenses for certain people who have been
seriously injured by certain medicines or vaccines, including this vaccine. Generally, a claim must


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be submitted to the CICP within one (1) year from the date of receiving the vaccine. To learn more
about this program, visit www.hrsa.gov/cicp or call 1-855-266-2427.

WHAT IS AN EMERGENCY USE AUTHORIZATION (EUA)?

The United States FDA has made the Janssen COVID-19 Vaccine available under an emergency
access mechanism called an EUA. The EUA is supported by a Secretary of Health and Human
Services (HHS) declaration that circumstances exist to justify the emergency use of drugs and
biological products during the COVID-19 pandemic.

The Janssen COVID-19 Vaccine has not undergone the same type of review as an FDA-approved
or cleared product. FDA may issue an EUA when certain criteria are met, which includes that there
are no adequate, approved, and available alternatives. In addition, the FDA decision is based on
the totality of scientific evidence available showing that the product may be effective to prevent
COVID-19 during the COVID-19 pandemic and that the known and potential benefits of the
product outweigh the known and potential risks of the product. All of these criteria must be met to
allow for the product to be used during the COVID-19 pandemic.

The EUA for the Janssen COVID-19 Vaccine is in effect for the duration of the COVID-19
declaration justifying emergency use of these products, unless terminated or revoked (after which
the products may no longer be used).

Manufactured by:
Janssen Biotech, Inc.
a Janssen Pharmaceutical Company of Johnson & Johnson
Horsham, PA 19044, USA




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For more information, call US Toll Free: 1-800-565-4008, US Toll: (908) 455-9922 or go to www.janssencovid19vaccine.com

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                                             Scan to capture that this Fact Sheet was provided to vaccine
                                             recipient for the electronic medical records/immunization
                                             information systems.

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             FACT SHEET FOR RECIPIENTS AND CAREGIVERS
            EMERGENCY USE AUTHORIZATION (EUA) OF
THE MODERNA COVID-19 VACCINE TO PREVENT CORONAVIRUS DISEASE 2019
       (COVID-19) IN INDIVIDUALS 18 YEARS OF AGE AND OLDER

You are being offered the Moderna COVID-19 Vaccine to prevent Coronavirus Disease 2019
(COVID-19) caused by SARS-CoV-2. This Fact Sheet contains information to help you
understand the risks and benefits of the Moderna COVID-19 Vaccine, which you may receive
because there is currently a pandemic of COVID-19.

The Moderna COVID-19 Vaccine is a vaccine and may prevent you from getting COVID-19.
There is no U.S. Food and Drug Administration (FDA) approved vaccine to prevent COVID-19.

Read this Fact Sheet for information about the Moderna COVID-19 Vaccine. Talk to the
vaccination provider if you have questions. It is your choice to receive the Moderna COVID-19
Vaccine.

The Moderna COVID-19 Vaccine is administered as a 2-dose series, 1 month apart, into the
muscle.

The Moderna COVID-19 Vaccine may not protect everyone.

This Fact Sheet may have been updated. For the most recent Fact Sheet, please visit
www.modernatx.com/covid19vaccine-eua.

WHAT YOU NEED TO KNOW BEFORE YOU GET THIS VACCINE

WHAT IS COVID-19?
COVID-19 is caused by a coronavirus called SARS-CoV-2. This type of coronavirus has not
been seen before. You can get COVID-19 through contact with another person who has the
virus. It is predominantly a respiratory illness that can affect other organs. People with COVID-
19 have had a wide range of symptoms reported, ranging from mild symptoms to severe illness.
Symptoms may appear 2 to 14 days after exposure to the virus. Symptoms may include: fever or
chills; cough; shortness of breath; fatigue; muscle or body aches; headache; new loss of taste or
smell; sore throat; congestion or runny nose; nausea or vomiting; diarrhea.

WHAT IS THE MODERNA COVID-19 VACCINE?
The Moderna COVID-19 Vaccine is an unapproved vaccine that may prevent COVID-19. There
is no FDA-approved vaccine to prevent COVID-19.

The FDA has authorized the emergency use of the Moderna COVID-19 Vaccine to prevent
COVID-19 in individuals 18 years of age and older under an Emergency Use Authorization
(EUA).

For more information on EUA, see the “What is an Emergency Use Authorization (EUA)?”
section at the end of this Fact Sheet.

Revised: 12/2020                                                                                1


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WHAT SHOULD YOU MENTION TO YOUR VACCINATION PROVIDER BEFORE
YOU GET THE MODERNA COVID-19 VACCINE?
Tell your vaccination provider about all of your medical conditions, including if you:
    • have any allergies
    • have a fever
    • have a bleeding disorder or are on a blood thinner
    • are immunocompromised or are on a medicine that affects your immune system
    • are pregnant or plan to become pregnant
    • are breastfeeding
    • have received another COVID-19 vaccine

WHO SHOULD GET THE MODERNA COVID-19 VACCINE?
FDA has authorized the emergency use of the Moderna COVID-19 Vaccine in individuals 18
years of age and older.

WHO SHOULD NOT GET THE MODERNA COVID-19 VACCINE?
You should not get the Moderna COVID-19 Vaccine if you:
   • had a severe allergic reaction after a previous dose of this vaccine
   • had a severe allergic reaction to any ingredient of this vaccine

WHAT ARE THE INGREDIENTS IN THE MODERNA COVID-19 VACCINE?
The Moderna COVID-19 Vaccine contains the following ingredients: messenger ribonucleic acid
(mRNA), lipids (SM-102, polyethylene glycol [PEG] 2000 dimyristoyl glycerol [DMG],
cholesterol, and 1,2-distearoyl-sn-glycero-3-phosphocholine [DSPC]), tromethamine,
tromethamine hydrochloride, acetic acid, sodium acetate, and sucrose.

HOW IS THE MODERNA COVID-19 VACCINE GIVEN?
The Moderna COVID-19 Vaccine will be given to you as an injection into the muscle.

The Moderna COVID-19 Vaccine vaccination series is 2 doses given 1 month apart.

If you receive one dose of the Moderna COVID-19 Vaccine, you should receive a second dose of
the same vaccine 1 month later to complete the vaccination series.

HAS THE MODERNA COVID-19 VACCINE BEEN USED BEFORE?
The Moderna COVID-19 Vaccine is an unapproved vaccine. In clinical trials, approximately
15,400 individuals 18 years of age and older have received at least 1 dose of the Moderna
COVID-19 Vaccine.

WHAT ARE THE BENEFITS OF THE MODERNA COVID-19 VACCINE?
In an ongoing clinical trial, the Moderna COVID-19 Vaccine has been shown to prevent
COVID-19 following 2 doses given 1 month apart. The duration of protection against COVID-19
is currently unknown.



Revised: 12/2020                                                                            2


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WHAT ARE THE RISKS OF THE MODERNA COVID-19 VACCINE?
Side effects that have been reported with the Moderna COVID-19 Vaccine include:
    • Injection site reactions: pain, tenderness and swelling of the lymph nodes in the same arm
        of the injection, swelling (hardness), and redness
    • General side effects: fatigue, headache, muscle pain, joint pain, chills, nausea and
        vomiting, and fever

There is a remote chance that the Moderna COVID-19 Vaccine could cause a severe allergic
reaction. A severe allergic reaction would usually occur within a few minutes to one hour after
getting a dose of the Moderna COVID-19 Vaccine. For this reason, your vaccination provider
may ask you to stay at the place where you received your vaccine for monitoring after
vaccination. Signs of a severe allergic reaction can include:
    • Difficulty breathing
    • Swelling of your face and throat
    • A fast heartbeat
    • A bad rash all over your body
    • Dizziness and weakness

These may not be all the possible side effects of the Moderna COVID-19 Vaccine. Serious and
unexpected side effects may occur. The Moderna COVID-19 Vaccine is still being studied in
clinical trials.

WHAT SHOULD I DO ABOUT SIDE EFFECTS?
If you experience a severe allergic reaction, call 9-1-1, or go to the nearest hospital.

Call the vaccination provider or your healthcare provider if you have any side effects that bother
you or do not go away.

Report vaccine side effects to FDA/CDC Vaccine Adverse Event Reporting System
(VAERS). The VAERS toll-free number is 1-800-822-7967 or report online to
https://vaers.hhs.gov/reportevent.html. Please include “Moderna COVID-19 Vaccine EUA” in
the first line of box #18 of the report form.

In addition, you can report side effects to ModernaTX, Inc. at 1-866-MODERNA (1-866-663-
3762).

You may also be given an option to enroll in v-safe. V-safe is a new voluntary smartphone-based
tool that uses text messaging and web surveys to check in with people who have been vaccinated
to identify potential side effects after COVID-19 vaccination. V-safe asks questions that help
CDC monitor the safety of COVID-19 vaccines. V-safe also provides second-dose reminders if
needed and live telephone follow-up by CDC if participants report a significant health impact
following COVID-19 vaccination. For more information on how to sign up, visit:
www.cdc.gov/vsafe.




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WHAT IF I DECIDE NOT TO GET THE MODERNA COVID-19 VACCINE?
It is your choice to receive or not receive the Moderna COVID-19 Vaccine. Should you decide
not to receive it, it will not change your standard medical care.

ARE OTHER CHOICES AVAILABLE FOR PREVENTING COVID-19 BESIDES
MODERNA COVID-19 VACCINE?
Currently, there is no FDA-approved alternative vaccine available for prevention of COVID-19.
Other vaccines to prevent COVID-19 may be available under Emergency Use Authorization.

CAN I RECEIVE THE MODERNA COVID-19 VACCINE WITH OTHER VACCINES?
There is no information on the use of the Moderna COVID-19 Vaccine with other vaccines.

WHAT IF I AM PREGNANT OR BREASTFEEDING?
If you are pregnant or breastfeeding, discuss your options with your healthcare provider.

WILL THE MODERNA COVID-19 VACCINE GIVE ME COVID-19?
No. The Moderna COVID-19 Vaccine does not contain SARS-CoV-2 and cannot give you
COVID-19.

KEEP YOUR VACCINATION CARD
When you receive your first dose, you will get a vaccination card to show you when to return for
your second dose of the Moderna COVID-19 Vaccine. Remember to bring your card when you
return.

ADDITIONAL INFORMATION
If you have questions, visit the website or call the telephone number provided below.

To access the most recent Fact Sheets, please scan the QR code provided below.

   Moderna COVID-19 Vaccine website                            Telephone number
   www.modernatx.com/covid19vaccine-eua                        1-866-MODERNA
                                                                (1-866-663-3762)




HOW CAN I LEARN MORE?
  • Ask the vaccination provider
  • Visit CDC at https://www.cdc.gov/coronavirus/2019-ncov/index.html
  • Visit FDA at https://www.fda.gov/emergency-preparedness-and-response/mcm-legal-
    regulatory-and-policy-framework/emergency-use-authorization
  • Contact your state or local public health department




Revised: 12/2020                                                                                4


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WHERE WILL MY VACCINATION INFORMATION BE RECORDED?
The vaccination provider may include your vaccination information in your state/local
jurisdiction’s Immunization Information System (IIS) or other designated system. This will
ensure that you receive the same vaccine when you return for the second dose. For more
information about IISs, visit: https://www.cdc.gov/vaccines/programs/iis/about.html.

WHAT IS THE COUNTERMEASURES INJURY COMPENSATION PROGRAM?
The Countermeasures Injury Compensation Program (CICP) is a federal program that may help
pay for costs of medical care and other specific expenses of certain people who have been
seriously injured by certain medicines or vaccines, including this vaccine. Generally, a claim
must be submitted to the CICP within one (1) year from the date of receiving the vaccine. To
learn more about this program, visit www.hrsa.gov/cicp/ or call 1-855-266-2427.

WHAT IS AN EMERGENCY USE AUTHORIZATION (EUA)?
The United States FDA has made the Moderna COVID-19 Vaccine available under an
emergency access mechanism called an EUA. The EUA is supported by a Secretary of Health
and Human Services (HHS) declaration that circumstances exist to justify the emergency use of
drugs and biological products during the COVID-19 pandemic.

The Moderna COVID-19 Vaccine has not undergone the same type of review as an FDA-
approved or cleared product. FDA may issue an EUA when certain criteria are met, which
includes that there are no adequate, approved, and available alternatives. In addition, the FDA
decision is based on the totality of the scientific evidence available showing that the product may
be effective to prevent COVID-19 during the COVID-19 pandemic and that the known and
potential benefits of the product outweigh the known and potential risks of the product. All of
these criteria must be met to allow for the product to be used during the COVID-19 pandemic.

The EUA for the Moderna COVID-19 Vaccine is in effect for the duration of the COVID-19
EUA declaration justifying emergency use of these products, unless terminated or revoked (after
which the products may no longer be used).

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Patent(s): www.modernatx.com/patents
Revised: 12/2020




Revised: 12/2020                                                                                  5


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        ATTACHMENT D
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                               Refusal to Take Coronavirus Vaccine


I understand that CoreCivic has offered me the opportunity to receive a COVID-19 vaccine that has
been granted Emergency Use Authorization by the Food and Drug Administration (FDA). The
COVID-19 vaccine offered to me has been provided by __________________ and made available for
inmates and/or detainees at the ____________________.

I understand that I am not required to take the vaccine and that the decision to take the vaccine is
purely a personal choice. I understand that CoreCivic may not offer another opportunity for residents
to take the COVID-19 vaccination, and that the vaccine might not be available to me from other
resources in the immediate future.


I refuse to accept the vaccine and I understand that I take the risk of contracting COVID-19 and its
related complications including, but not limited to: weakness, difficulty breathing, the need for
supplemental Oxygen, respiratory failure, intubation, mechanical ventilation, blood clots, mental
impairment, permanent disability, and death.




    Name                                    Signature



    Number                                  Date



    Witness Name and Title                  Witness Signature                        Date and Time




Revised Dec. 2020, CoreCivic



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                                  Consent to Take Coronavirus Vaccine

  I understand that CoreCivic has offered me the opportunity to receive a COVID-19 vaccine that has
  been granted Emergency Use Authorization by the Food and Drug Administration (FDA). The
  COVID-19 vaccine offered to me has been provided by _______________and made available for
  inmates and/or detainees at the _______________. I also understand that the Pfizer-BioNTech and
  Moderna vaccines are administered in two doses and that if I choose to take these vaccines, I will be
  required to take a second dose within a specific time frame to ensure that the vaccine is effective and
  to avoid wasting limited supplies of vaccine. If offered the Jenssen/Johnson and Johnson vaccine,
  one inoculation is required.

  I understand that I am not required to take the vaccine and that the decision to take the vaccine is
  purely a personal choice. I understand that CoreCivic may not offer another opportunity for residents
  to take the COVID-19 vaccination, and that the vaccine might not be available to me from other
  resources in the immediate future. I also understand that guidelines or requirements for vaccination
  may change in accordance with current or future guidance by the CDC, the Department of Health or
  other state, local or federal regulations.

  I acknowledge and understand that taking Coronavirus vaccine may produce side effects
  including soreness, flu-like symptoms and in very rare cases blood clots associated with the
  J&J vaccine as described in the revised J&J product information sheet provided to me if the
  J&J vaccine is being administered. I also understand that individuals that have suffered
  serious allergic reactions to vaccines in the past may be at greater risk of an adverse outcome
  if they choose to take the Coronavirus vaccine.

  I acknowledge and understand there are potential side effects in taking this Coronavirus vaccine. I
  acknowledge that my consent to take the vaccine is given freely and voluntarily and without any form
  of coercion.


      Name                                    Signature



      Number                                  Date




  Revised April 2021, CoreCivic



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                EXHIBIT 5
               CDC Guidance
               February, 2022
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  COVID-19


Interim Guidance on Management of Coronavirus Disease
2019 (COVID-19) in Correctional and Detention Facilities
Updated Feb. 10, 2022




Summary of Recent Changes

   Updates as of February 10, 2022




                                                                                                                                
     •   Consolidated the following three guidance documents that were previously posted on the CDC COVID-19
         Corrections webpage: Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in Correctional
         and Detention Facilities; Interim Guidance for SARS-CoV-2 Testing in Correctional and Detention Facilities; and
         Recommendations for Quarantine Duration in Correctional and Detention Facilities.

     •   Reduced quarantine duration during routine operations from 14 days to 10 days.

     •   Added recommendations on isolation and quarantine duration for staff and residents in correctional and
         detention facilities during crisis-level operations.

     •   Added description of the use of medication for prevention of severe COVID-19 disease.

     •   Updated language on vaccination status to include booster doses and additional doses for people who are eligible
         for them. (Removed references to “fully vaccinated” to refer instead to being “up to date on COVID-19 vaccines.”)

     •   Updated recommendations on use of personal protective equipment (PPE), masks, and respirators for correctional
         residents and staff (Table 1).


  View Previous Updates



  This document provides guidance specific for correctional and detention facilities regarding coronavirus disease 2019
  (COVID-19) and consolidates previous CDC corrections-specific guidance documents. This guidance is based on what is
  currently known about the transmission and severity of COVID-19 as of February 10, 2022.

  The U.S. Centers for Disease Control and Prevention (CDC) will update this guidance as needed and as additional
  information becomes available. Please check the CDC website periodically for updated guidance.




Intended Audience
This document is intended to provide guiding principles for healthcare and non-healthcare administrators of correctional and
detention facilities for adults and juveniles to assist in preparing for potential introduction, spread, and mitigation of SARS-
CoV-2 (the virus that causes COVID-19) in their facilities. (Visit the CDC website for healthcare workers for more information
pertinent to healthcare staff specifically.) These facilities include but are not limited to federal and state prisons; local jails;
detention centers; law enforcement agencies that have custodial authority for persons who are detained (i.e., U.S.
Immigration and Customs Enforcement, U.S. Customs and Border Protection, and U.S. Marshals Service); and their respective
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community-based departments of health. Some of these facilities and agencies might adapt CDC guidance for correctional
and detention facilities based on their specific populations or operational needs. This guidance will not necessarily address
every possible custodial setting and may not use legal terminology specific to individual agencies’ authorities or processes.
This guidance does not replace any applicable federal, state, Tribal, local, or territorial health and safety laws, rules, and
regulations.


For the purpose of this document, “incarcerated/detained persons” or “residents” refers to persons held in a prison, jail,
detention center, or other custodial setting. The term includes those who have been sentenced as well as those held for pre-
trial or civil purposes.

“Staff” refers to the group of all public or private sector employees (e.g., contracted healthcare or food service workers)
working within a correctional or detention facility. “Staff” does not distinguish between healthcare, custody, and other types of
staff members, nor between government and private employers.

“Congregate settings” refers to a setting in which a group of usually unrelated persons reside for an extended period of time
in close physical proximity. Congregate settings, including correctional and detention facilities, are characterized by a diverse
and varying set of factors that can increase risk and affect exposure to and transmission of COVID-19.

Refer to CDC guidance on the definition of staying “up to date” on COVID-19 vaccines. This definition is subject to change over
time based on updates to CDC vaccination guidance.

This guidance should be adapted based on an individual facility’s physical space, staffing, population, operations, history of
SARS-CoV-2 outbreaks, community factors, and other resources and conditions. Facilities should contact CDC
(eocevent366@cdc.gov) or their state, local, territorial, and/or tribal public health department if they need assistance in
applying these principles or addressing topics that are not specifically covered in this guidance.



Guidance Overview
The guidance below includes detailed recommendations on the following topics related to COVID-19 in correctional and
detention settings:

  1. Strategies for applying and sustaining COVID-19 prevention measures in correctional and detention facilities based on
      local data
  2. Communication
  3. Vaccination
  4. Infection prevention and control
  5. Testing considerations
  6. Medical isolation and quarantine
        •   Shortening quarantine or isolation during crisis-level operations
  7. Medication for prevention of severe COVID-19 disease
  8. Considerations for reentry programming



1. Strategies for applying and sustaining COVID-19 prevention
measures in correctional and detention facilities based on local
data
To develop a long-term COVID-19 prevention plan, facilities should weigh the logistical and mental health challenges related
to prolonged, intensive mitigation measures against the risks associated with transmission of SARS-CoV-2. To help provide
considerations for this decision-making, this section includes:


  •   Prevention measures to keep in place at all times

  •   Metrics to guide modification of COVID-19 prevention measures at the facility level, using data on local trends and facility
      characteristics
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Prevention measures to keep in place at all times
Facilities should maintain, at all times, the following aspects of standard infection control, monitoring, and capacity to
respond to cases of COVID-19:


  •   Provide COVID-19 vaccination, including boosters: Continue to provide and encourage up to date COVID-19 vaccination
      for staff members and residents (including additional doses for people who are immunocompromised and others who
      are eligible for them, and boosters). (See Vaccination section below).

  •   Maintain standard infection control: Maintain optimized ventilation, handwashing, proper mask wearing, and cleaning
      and disinfection for standard prevention of infectious diseases, including COVID-19. For details, see the section below on
      Infection Prevention and Control and CDC’s site on Safe and Proper Use of Disinfectants to Reduce Viral Surface
      Contamination in Correctional Facilities.

  •   Maintain SARS-CoV-2 testing strategies: Maintaining a robust testing program (including both diagnostic and screening
      testing) can help prevent or reduce transmission in congregate settings and provide critical data for ongoing assessment.
      Maintain the testing strategies below to the maximum extent possible based on facility resources and supplies.
        -   Diagnostic testing should be performed for anyone who shows signs or symptoms of COVID-19 and for anyone who
            has been potentially exposed or identified as a close contact of someone with COVID-19, regardless of COVID-19
            vaccination and booster status. See Testing section below for details.
        -   Routine screening testing should be performed for all residents at intake and before transfer and release,
            regardless of COVID-19 vaccination and booster status.
        -   See section below on Testing Considerations for SARS-CoV-2 for more information about testing strategies,
            including options for designing a screening testing program based on the unique features of a particular facility and
            its population.

  •   Prevent COVID-19 introduction from the community: Regardless of their vaccination and booster status, exclude staff
      members from work if they have symptoms of COVID-19, test positive for SARS-CoV-2, or have been potentially exposed
      or identified as a close contact of someone with COVID-19. See sections below on quarantine and isolation duration for
      staff during routine vs. crisis operations.

  •   Prepare for outbreaks: Monitor community data to be prepared for an outbreak, and maintain the ability to effectively
      communicate to staff members and residents about what to expect if an outbreak occurs. Maintain the ability to
      respond quickly to an outbreak, including the ability to scale up medical isolation and quarantine.

The response to COVID-19 in correctional and detention facilities should consider the broader mental health impacts for
residents and staff, both for those with and without pre-existing mental illness. Some COVID-19 prevention measures, such as
prolonged quarantine periods, repeated isolation, and restrictions on visitation and programming, are known to lead to
negative impacts on mental health and well being.


Applying or modifying COVID-19 prevention measures at the facility
level using data on local trends and facility characteristics
As epidemiologic trends shift due to new variants and other factors, administrators may consider strengthening or relaxing
COVID-19 prevention measures for individual facilities based on the five primary metrics listed below. No single metric should
be used alone in decision-making. Consult with local public health partners in decision-making about modifying prevention
measures, especially for facilities without internal public health or infectious disease experts. Any relaxing of prevention
measures should be conducted in a stepwise fashion, one prevention measure at a time, with continued diagnostic testing
and screening in place to carefully monitor for cases of COVID-19 in the facility before making changes to additional
prevention measures. Communicate clearly with staff and residents about any changes made to procedures.


  •   Vaccination coverage: Determine the proportion of staff and residents who are up to date on their COVID-19 vaccines.

COVID-19 vaccines are highly effective in preventing severe illness, hospitalization, and death from COVID-19. Although not
enough information is available to determine a specific level of vaccination coverage needed to modify facility-level
prevention measures, maximizing up to date COVID-19 vaccination coverage is critical to protect staff members and
residents.


  •   Transmission in the facility: Evaluate the current and historical level of COVID-19 transmission within the facility.
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Facility-level prevention measures should not be lifted when transmission is occurring within the facility. Because of the risk of
unrecognized infection, a single new case of SARS-CoV-2 infection in a staff member or resident in a correctional or detention
facility should be evaluated as a potential outbreak. (However, if a resident tests positive at intake but has not had close
contact with other members of the facility’s population and is immediately placed in medical isolation, this person’s positive
test result could be considered an isolated case rather than transmission in the facility.)

If historical transmission levels in the facility have been high or if outbreak response has been difficult, maintain COVID-19
prevention measures for a longer duration.


  •   Transmission in the community: Monitor the level of COVID-19 transmission in the surrounding community.

Consider the community where the facility is located as well as the communities from which residents originate and where
staff members live. County-level transmission indicators can be found on CDC’s COVID Data Tracker website. Maintain
prevention measures when community transmission levels are higher, since introduction of the virus into the facility is more
likely during those times.


  •   Demographic and health-related characteristics: Determine the proportions of the facility’s residents and staff who are
      at increased risk for severe COVID-19 illness. Consider the potential impact of prolonged mitigation measures on mental
      health.

Maintain facility-level prevention measures for longer durations in facilities with high proportions of people at increased
risk for severe illness.


  •   Facility structural and operational characteristics: Assess how facility characteristics and operational protocols can
      contribute to SARS-CoV-2 spread within the facility.

Maintain COVID-19 prevention measures for longer durations in facilities where the layout (e.g., dorm/open barracks vs.
individual cells), ventilation, or movement patterns inhibit physical distancing or the frequency of air exchange, and where
staff members work across multiple units that otherwise have no shared close contacts.




2. Communication
Administrators maintain preparation for COVID-19 by ensuring that all persons in the facility know the symptoms of COVID-
19 and the importance of reporting those symptoms if they develop. They should ensure that materials are easy to
understand by non-English speakers, those with low literacy, and people with disabilities. Other essential actions are detailed
below.


Develop information-sharing systems with external partners.


  •   Public health partners
         -   Identify points of contact in relevant state, local, tribal, and territorial public health departments. Actively engage
             with the health department to understand in advance which entity has jurisdiction to implement public health
             control measures for COVID-19 in a particular correctional or detention facility.
         -   Notify and coordinate with the public health department when a person has suspected or confirmed COVID-19.
             Request any necessary assistance.
         -   Stay informed about updates to CDC guidance via the CDC COVID-19 website as more information becomes known.

  •   Correctional partners
         -   Communicate with other correctional facilities to share information including the number of cases and deaths (e.g.
             disease surveillance) and absenteeism patterns among the staff.
         -   Where possible, put plans in place to restrict transfers of residents between facilities during their quarantine or
             isolation period, unless released from custody or a transfer is necessary for medical care, infection control, lack of
             quarantine/isolation space, or extenuating correctional, judicial, or security concerns.
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Encourage all persons in the facility to take actions to protect themselves and others from COVID-19, including staying up to
date on their COVID-19 vaccines, wearing well- tting masks or respirators indoors, practicing physical distancing as much as
possible, and maintaining good hand hygiene.


  •   Provide residents and staff with up-to-date information about COVID-19 and changes to facility policies on a regular
      basis.

  •   Train staff on the facility’s COVID-19 plan.

  •   Address concerns related to reporting symptoms (e.g., being sent to medical isolation), and explain that quarantine and
      medical isolation are not the same as disciplinary solitary confinement. In addition, ensure that medical isolation and
      quarantine are truly operationally distinct from disciplinary solitary confinement (see section on Medical Isolation and
      Quarantine).

  •   Post signs throughout the facility about ways staff and residents can protect themselves and others from COVID-19.
      Example signage and other communications materials are available on the CDC website.

  •   Ensure that the pandemic plan addresses staff safety and potential staffing shortages.

  •   Identify duties that can be performed remotely. Where possible, allowing staff to work from home can be an effective
      physical distancing strategy to reduce the risk of SARS-CoV-2 infection during an outbreak.

  •   Consider offering revised duties to staff members who are at increased risk for severe COVID-19 illness. Review the sick
      leave policies of each employer that operates within the facility. Employers are encouraged to implement flexible, non-
      punitive paid sick leave and supportive policies and practices as part of a comprehensive approach to prevent and
      reduce transmission among employees and to prevent introduction into the resident population.

  •   Plan for absences. Staff members should stay home when they are sick, or they may need to stay home to care for a sick
      household member or care for children in the event of school and childcare dismissals. Identify critical job functions and
      plan for alternative coverage. Consider increasing keep on person (KOP) medication orders in case of healthcare staff
      shortages.




3. Vaccination
Increasing COVID-19 vaccination rates and ensuring that staff and residents stay up to date on their COVID-19 vaccines is the
most important tool available to prevent correctional staff and residents from getting sick with COVID-19. Currently
authorized or approved vaccines in the United States are highly effective in protecting against severe illness, hospitalization,
and death. For more information on vaccine effectiveness, visit Ensuring COVID-19 Vaccines Work.

COVID-19 and other vaccines, including influenza vaccines, may be co-administered at the same time. See the Interim
Guidance for Routine and Influenza Immunization Services During the COVID-19 Pandemic for additional considerations for
influenza vaccination of persons in congregate-settings during the COVID-19 pandemic.

Correctional and detention facilities should:


  •   Ensure that vaccines and boosters are available for all staff and residents in order to stay up to date.

  •   Promote COVID-19 vaccination by educating the staff and residents on the effectiveness, safety, and importance of
      vaccines; consider recruiting residents who received the vaccine to be peer supporters to encourage other residents to
      get the vaccine and recruiting staff peers to encourage staff vaccination.
                                                                            fi
  •   Work with local health departments, healthcare providers, and community organizations on effective ways to increase
      vaccination uptake, informed by input from residents about why they may not wish to receive the vaccine.

Additional vaccine resources:


  •   Stay Up to Date with Your Vaccines

  •   COVID-19 vaccine communications resources available to print specifically for correctional facilities: Print Resources

  •   Building Confidence in COVID-19 Vaccines

  •   COVID-19 Vaccine Information for Specific Groups

  •   Ensuring the Safety of COVID-19 Vaccines in the United States

  •   COVID-19 Vaccine Booster Shot
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  •   COVID-19 Vaccine Communication Toolkit

  •   Frequently asked Questions about the COVID-19 Vaccine

  •   COVID-19 Rapid Community Assessment Guide




4. Infection prevention and control
For more Infection Prevention Control information for healthcare workers, see CDC’s Infection Control Guidance for
Healthcare Professions about Coronavirus (COVID-19).


Hand hygiene
  •   All staff members and residents should use everyday preventive actions including regularly washing their hands,
      avoiding touching their eyes, nose, and mouth, and covering their cough.

  •   Facilities should ensure that staff members and residents have adequate access to hand hygiene materials at no cost.
      These materials should include soap, water, and clean towels or alcohol-based hand sanitizer with at least 60% alcohol.


Cleaning and disinfection
  •   Facilities should adhere to CDC recommendations for cleaning and disinfection during the COVID-19 response.

  •   Facilities should have a plan in place to restock supplies as needed during a COVID-19 outbreak.


Physical distancing
  •   Physical distancing is the practice of increasing the space between individuals and decreasing frequency of contact to
      reduce the risk of spreading a disease (ideally maintaining at least 6 feet between all people, even those who do not
      have symptoms). Physical distancing strategies can be applied on an individual level (e.g., avoiding physical contact), a
      group level (e.g., canceling group activities where people would be in close contact), and an operational level (e.g.,
      rearranging chairs in the dining hall to increase distance between them or using protective barriers if space is limited).

  •   Make a list of possible physical distancing strategies that could be implemented as needed at different stages of
      transmission intensity. When distancing is not possible, protective barriers may be used in areas such as offices and
      classrooms. Strategies will need to be tailored to the individual space in the facility and the needs of the residents and
      staff.

  •   Consider options to prevent overcrowding (e.g., diverting new intakes to other facilities with available capacity, and
      encouraging alternatives to incarceration and other decompression strategies where allowable).

  •   When feasible and consistent with security priorities, encourage staff members to maintain a distance of 6 feet or more
      from a person with COVID-19 symptoms while interviewing, escorting, or interacting in other ways. Staff members
      should always wear recommended PPE when in close contact with a person with COVID-19 symptoms.

  •   If there are people with COVID-19 inside the facility, prevent unnecessary movement between different parts of the
      facility and mixing of people from different housing units. For example, maintain consistent duty assignments for staff
      across shifts to prevent transmission across different facility areas, and modify resident work detail assignments so that
      each detail includes only residents from a single housing unit.

  •   If possible, designate a room near each housing unit to evaluate residents with COVID-19 symptoms, rather than having
      them walk through the facility to the medical unit. If this is not feasible, consider staggering sick call.


Symptom screening and temperature checks
  •   Screening for COVID-19 symptoms (including temperature checks) and asking about recent exposure can help identify
      staff members or visitors who should be excluded from a facility before entry and residents (at intake or in the existing
      population) who should be evaluated for potential medical isolation or quarantine. Symptom screening alone will not
      prevent all transmission, since it is largely based on voluntary self-report and will not identify people with asymptomatic
      infection.

  •   Symptom screening and temperature checks should be used in combination with a screening testing program (described
      below) to minimize the risk of SARS-CoV-2 transmission. Symptom screening and temperature checks should be
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     conducted daily during the quarantine period among residents who have been exposed to someone with COVID-19.



Routine Mask or Respirator Use
 •   All staff members and residents should wear a well-fitting cloth or disposable procedure mask or a respirator as much as
     possible while indoors (unless contraindicated), even in areas not used for quarantine or medical isolation. If masks or
     respirators are not worn outdoors, ensure that physical distancing is maintained. Correct and consistent mask or
     respirator use is key to preventing the spread of droplets and very small particles that contain the virus (i.e., source
     control). Provide masks or respirators at no cost to residents and staff and clean or replace them routinely.

 •   Considerations for choosing a mask or respirator:
       -   Masks and respirators can provide different levels of protection depending on the type of product and how they are
           used. Choose the most protective mask or respirator that fits well and can be worn consistently.
       -   Loosely woven cloth products provide the least protection; layered finely woven products offer more protection;
           well-fitting disposable procedure masks and KN95s offer even more protection, and well-fitting NIOSH-approved
           respirators (including N95s) offer the highest level of protection.
       -   When possible based on facility resources and supply, offer different types of masks and respirators to staff and
           residents so that they can choose the option that fits them best and that they can wear consistently. The options
           that are offered in correctional and detention facilities may be limited by safety and security considerations, such as
           concerns about metal nose wires.
       -   Residents should be offered masks or respirators providing the same level of protection as those provided to staff
           when residents are in a similar environment. See Table 1 for recommended masks and respirators for different
           scenarios.

 •   Clearly explain the purpose of masks and respirators and when their use may be contraindicated.

 •   See Table 1 for more information about when different types of masks and respirators are recommended for residents
     or staff based on their scope of duties and risk of exposure to SARS-CoV-2.


Recommended PPE and PPE Training for Staff Members and Residents
 •   Recommended PPE for staff members and residents in a correctional facility will vary based on the type of contact they
     have with someone with COVID-19 or their close contacts. See Table 1for recommended PPE for residents and staff
     members with varying levels of contact with people with COVID-19 or their close contacts. In case of shortages, use
     strategies for safely optimizing PPE supplies.

 •   Ensure that staff members and residents who are required to wear PPE have been trained to correctly don, doff, and
     dispose of PPE that they will need to use within the scope of their responsibilities:
       -   PPE donning and doffing training videos and job aids 
       -   Protecting Healthcare Personnel (as found on the CDC website)
       -   Infection control guidance for healthcare professionals about COVID-19
       -   CDC COVID-19 Correction Unit’s Infection Prevention and Control training slides 

 •   Have designated PPE donning and doffing areas outside all spaces where PPE will be used. These spaces should include
     the following (See the full list of recommended materials in the CDC Correction Unit’s Infection Prevention and Control
     training slides  ):
       -   A dedicated trash can for disposal of used PPE (one for laundry and one for trash or biohazard)
       -   A hand washing station or access to alcohol-based hand sanitizer with at least 60% alcohol
       -   Posters illustrating correct donning and doffing procedures

 •   If not already in place, employers operating within the facility should establish a respiratory protection program, as
     appropriate, to ensure that staff members and residents are fit-tested, medically cleared, and trained for any respiratory
     protection they will need within the scope of their responsibilities. For more details, see the OSHA Emergency Temporary
     Standard for Healthcare Workers  , which contains guidance for the elements needed in a mini respiratory protection
     program, which is relevant for healthcare workers outside of traditional hospitals and clinics, if certain criteria are
     present.

 •   If staff members must serve multiple facility areas, ensure that they change PPE when leaving the medical isolation or
     quarantine space. If a shortage of PPE supplies necessitates reuse, ensure that staff members move only from low to
     high exposure risk areas while wearing the same PPE to prevent cross-contamination. For example, start in a housing
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      unit where no one is known to be infected or exposed, then move to a space used as quarantine for close contacts, and
      end in an isolation unit.




Table 1. Recommended Personal Protective Equipment (PPE) and Source Control for
Residents and Staff in a Correctional or Detention Facility
Note: To maximize protection from highly transmissible SARS-CoV-2 variants of concern and prevent possible spread to
others, residents and staff members of correctional facilities should wear a cloth or disposable procedure mask or respirator
regardless of vaccination and booster status while indoors, and should maintain physical distancing outdoors if not masked.
The PPE described below may only be required for certain activities, see footnotes for details.


                                                            International
                                                            Respirator*
                                            NIOSH-          or Disposable
                                            approved        Procedure        Cloth    Eye
                                            Respirator*     Mask             Mask     Protection      Gloves    Gown/Coveralls


 Residents

 With confirmed or suspected COVID-                             X†§
 19, or showing symptoms of COVID-
 19

 Quarantined (individually or in a                              X†§
 cohort) as a close contact of someone
 with COVID-19


 Handling laundry or used food service                    X†§                             X¶             X             X
 items from someone with COVID-19
 or their close contacts

 Working in an area designated for               X                                     If using cleaning products, additional
 quarantine or medical isolation                                                          PPE may be needed based on the
 (without having close contact with                                                            cleaning product label. See
 persons under quarantine or isolation                                                         CDC guidelines for details.
 precautions)

 Working in an area designated for               X                                        X              X             X
 quarantine or medical isolation (with
 close contact with persons under
 quarantine or isolation precautions)


 Living or working in areas of the                              X†§
 facility not designated for quarantine
 or medical isolation

 Staff

 Working in medical isolation or                 X                                     If using cleaning products, additional
 quarantine areas (without close                                                          PPE may be needed based on the
 contact with persons under                                                               cleaning product label. See CDC
 quarantine or isolation precautions)                                                          guidelines for details.
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                                                                    International
                                                                    Respirator*
                                                  NIOSH-            or Disposable
                                                  approved          Procedure           Cloth     Eye
                                                  Respirator*       Mask                Mask      Protection      Gloves      Gown/Coveralls


     Having close contact with (including               X                                               X             X                X
     transport) or providing medical care
     to persons under quarantine or
     isolation precautions

     Performing temperature checks for                                 X†                               X             X
     any persons who are not under
     quarantine or isolation precautions**

     Handling laundry or used food service                        X†                                    X¶            X                X
     items from someone with COVID-19
     or their close contacts


     Working in areas of the facility not                              X†                           If using cleaning products, additional
     designated for quarantine or medical                                                              PPE may be needed based on the
     isolation                                                                                          cleaning product label. See CDC
                                                                                                             guidelines for details.

*
 NIOSH-approved respirators include N95s. International respirators include KN95s and KF94s. Visit the CDC website of Types of Masks and
Respirators for a full list of NIOSH-approved and international respirators.

†
 Masks and respirators can provide different levels of protection depending on the type and how they are used. Choose the most protective
mask or respirator that fits well and can be worn consistently. Loosely woven cloth products provide the least protection; layered finely woven
products offer more protection; well-fitting disposable procedure masks and KN95s offer even more protection, and well-fitting NIOSH-
approved respirators (including N95s) offer the highest level of protection. When possible, offer different types of masks and respirators to staff
and residents so that they can choose the option that fits them best and that they can wear consistently. The options that are offered in
correctional and detention facilities may be limited by safety and security considerations, such as concerns about metal nose wires.


Residents should be offered masks or respirators providing the same level of protection as those provided to staff in a similar environment.
§



¶
 Eye protection should be added if splashes or sprays during cleaning and disinfection activities are anticipated or if otherwise required based
on the selected cleaning products.

**
   Sanitize or change gloves between each temperature check. A gown could be considered if extensive contact with the person being screened
is anticipated.



Considerations for Visitors
     •   If transmission in the facility and/or substantial community transmission is occurring, restrict non-essential vendors,
         volunteers, and tours from entering the facility or sections where transmission has been occurring.
           -   Consider restricting visitation when there is moderate to high community transmission to prevent the introduction
               of the virus into the facility.
           -   Suspending in-person visitation should only be done in the interest of the residents’ physical health and the health
               of the community. Visitation is important to maintain residents’ mental health. If visitation is suspended, facilities
               should identify alternative ways for residents to communicate with their families, friends, and other visitors.

     •   Require visitors to wear cloth or disposable procedure masks or respirators (unless contraindicated) and perform
         symptom and exposure screening and temperature checks for all visitors and volunteers on entry.

     •   Display signage and other communications materials outside visiting areas explaining the COVID-19 symptom screening
         and temperature check process. Ensure that materials are understandable for non-English speakers, those with low
         literacy, and people with disabilities.
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  •   Exclude visitors and volunteers who do not clear the screening process or who decline screening or are not wearing
      masks or respirators (unless contraindicated).

  •   Provide alcohol-based hand sanitizer with at least 60% alcohol in visitor entrances, exits, and waiting areas.

  •   Use protective barriers such as sneeze guards in visitation rooms when possible, as a part of a layered strategy to
      prevent SARS-CoV-2 transmission.

  •   Use physical distancing and visual cues such as stickers or decals to maintain physical distancing.

  •   Instruct visitors to postpone their visit if they have symptoms of COVID-19.




5. Testing considerations
People undergoing testing in any setting, including correctional and detention facilities, should receive clear information on
what the results mean, recommended actions associated with negative or positive results, the difference between testing for
screening versus for medical diagnosis, who will be able to access the results, and how the results may be used. Individuals
tested are required to receive patient fact sheets as part of the test’s emergency use authorization  (EUA).

Because of the risk of unrecognized infection, a single new case of SARS-CoV-2 infection in a staff member or resident in a
correctional or detention facility should be evaluated as a potential outbreak. If a resident tests positive at intake but has not
had close contact with other members of the facility’s population and is immediately placed in medical isolation, this person’s
positive test result could be considered an isolated case rather than a part of a larger outbreak. However, it may be necessary
to test other people who were exposed during intake or transport.


A. Test types
There are currently two types of tests to identify SARS-CoV-2 infection or exposure: viral and antibody tests.


Viral tests authorized  by the Food and Drug Administration (FDA), including nucleic acid amplification tests (NAATs), and
antigen tests, are used to diagnose current infection with SARS-CoV-2, the virus that causes COVID-19.

Tests can differ based on sensitivity (i.e., number of false-negative results/missed detections of SARS-CoV-2) and/or specificity
(i.e., number of false-positive results/tests incorrectly identifying SARS-CoV-2 when the virus is not present).


  •   NAATs are high-sensitivity, high-specificity tests for diagnosing SARS-CoV-2 infection. Most NAATs need to be processed
      in a laboratory, and the time to obtain results varies (~1–3 days), but some NAATs are point-of-care tests with results
      available in about 15–45 minutes.

  •   Antigen tests are immunoassays that detect the presence of a specific protein on the surface of the virus. Different
      antigen tests generally have similar specificity, but are less sensitive than most NAATs. Most are less expensive than
      NAATs and can be conducted at the point of care testing site, usually with faster turnaround times. It may be necessary
      to confirm some antigen test results with a laboratory-based NAAT (i.e., a negative antigen test result in persons with
      symptoms or a positive antigen test result in persons without symptoms or known exposure). Based on
      the authorization from FDA  , some point-of-care NAATs that provide presumptive results cannot be used for
      confirmatory testing. Use of the CDC Antigen Testing Algorithm is recommended to determine when confirmatory
      testing is needed.

Antibody (or serology) tests are used to detect previous infection with SARS-CoV-2 and can aid in the diagnosis of Multiple
Inflammatory Syndrome in Children (MIS-C) and in adults (MIS-A). CDC does not recommend using antibody testing to
diagnose current infection or to assess immunity. For more information on test types and how to choose a test, refer to
Overview of Testing for SARS-CoV-2.


B. Diagnostic testing
Diagnostic testing is intended to identify current infection and is performed when a person has signs or symptoms consistent
with COVID-19, or when a person is asymptomatic (without symptoms) but has recent known or suspected exposure to
someone with COVID-19. See Overview of Testing for SARS-CoV-2 for details.
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Facilities should consider suspending co-pays for residents seeking medical evaluation for possible COVID-19 symptoms, to
remove possible barriers to symptom reporting.

Testing and managing persons with signs or symptoms consistent with COVID-19, regardless of vaccination or booster status


  •   Residents with symptoms, regardless of COVID-19 vaccination or booster status, should be moved to medical isolation in
      a separate environment from other people (ideally individually), medically evaluated, and tested. If the test result is
      positive, medical isolation should continue for 10 days. Multiple residents with confirmed COVID-19 can be housed as a
      cohort (in a dorm or cell environments) regardless of the date of their positive test result. Facility staff should carefully
      evaluate and support the mental health needs of residents during medical isolation.

  •   Staff members with symptoms, regardless of COVID-19 vaccination and booster status, should be excluded from work
      and advised to seek testing. If the test result is positive, staff members should be excluded from work for 10 days.
      (However, staff may use the guidance for the general public for duration of isolation when they are not at work.) See
      section below on isolation duration for staff during routine vs. crisis operations.

  •   Visitors with symptoms, regardless of COVID-19 vaccination and booster status, should be denied entry and encouraged
      to seek testing through their healthcare providers or local health department.

Testing asymptomatic persons with recent known or suspected exposure to SARS-CoV-2

Because of the potential for asymptomatic and pre-symptomatic transmission, close contacts (people who were less than 6
feet away from an infected person for a total of 15 minutes or more over a 24-hour period) should be tested regardless of
their COVID-19 vaccination or booster status.

In correctional and detention facilities, contact tracing to identify each individual’s close contacts, including visitors, can be
difficult. Therefore, people considered to be close contacts may include all persons defined by a particular setting/location
(such as all residents and staff members assigned to a dormitory or unit where a case has been identified). Refer to the
quarantine considerations section for information about quarantine for people with known or suspected exposure to SARS-
CoV-2 in correctional and detention facilities.


  •   Initial tests: All persons with known or suspected exposure to someone with COVID-19, regardless of their COVID-19
      vaccination and booster status, should receive an initial diagnostic test as soon as possible after they have been
      identified as a close contact (but not within the first 24 hours after exposure/close contact, since a test is unlikely to be
      positive that quickly). If the initial test is negative, they should receive a second diagnostic test at least 5 days after the
      exposure/close contact. (If the initial test was performed at least 5 days after the exposure/close contact, a second test is
      not needed.) Depending on local laboratory capacity, rapid point-of-care tests may offer the shortest turnaround time to
      facilitate timely action based on results.

  •   Broad-based testing when contact tracing is challenging: In settings where contact tracing is difficult, such as in a large
      dormitory, facilities should conduct broad-based testing in areas where an exposure has occurred. Broad-based testing
      involves testing everyone in the affected area(s) of the facility, regardless of their COVID-19 vaccination and booster
      status. For details on performing testing for large numbers of people, review CDC guidance on Performing Broad-Based
      Testing for SARS-CoV-2 in Congregate Settings.
        -   The scope of broad-based testing should be based on the extent of movement (of staff members and residents)
            between parts of the facility with and without cases. Examples of broad-based testing strategies include the
            following:
              •   Testing all persons in a single housing unit where someone has tested positive, if there has not been
                  movement to or contact with other areas of the facility through the staff or residents (i.e., residents have not
                  left the housing unit and the staff members work exclusively in that housing unit).
              •   Testing all persons in an entire building or complex when cases have been identified in multiple parts of the
                  building or complex, or if there has been movement between parts of the building or complex with and
                  without cases.
        -   If a resident tests positive at intake but has not had close contact with other members of the facility’s population
            and is immediately placed in medical isolation, this person’s positive test result would not trigger broad-based
            testing and could be considered an isolated case rather than a part of a larger outbreak. However, it may be
            necessary to test other people who were exposed during intake or transport.

        -   Facility administrators should consider including staff in broad-based testing efforts regardless of vaccination and
            booster status, in order to help ensure that any COVID-19 cases are identified quickly, and to slow transmission. If it
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            is not feasible to test staff members at the facility, facilities should work with community partners or state/local
            health departments to implement staff testing.
        -   Facilities should make plans for how they will modify their operations based on test results. Given the potential for
            rapid transmission and high numbers of infections, ensure that plans include medical isolation options to house
            large numbers of infected persons and quarantine options to house large numbers of close contacts. For example,
            consider how the facility’s housing operations could be modified for multiple test result scenarios (e.g., if testing
            reveals that 10%, 30%, 50%, or more of a facility’s population is infected with SARS-CoV-2).

  •   Serial re-testing of a quarantined cohort: If quarantine cohorts are used (i.e., people who are exposed are quarantined
      together rather than individually due to space constraints or mental health concerns), facilities should conduct serial re-
      testing of the entire quarantined cohort, regardless of their vaccination and booster status.
        -   Facilities should re-test people quarantined as a cohort every 3–7 days until testing identifies no new cases in the
            cohort for 10 days since the most recent positive result. The testing interval should be based on the stage of an
            ongoing outbreak (i.e., testing every 3 days can allow for faster outbreak control in the context of an escalating
            outbreak; testing every 5–7 days is sufficient when transmission has slowed).
        -   Anyone testing positive should be removed from the cohort, placed in medical isolation, and the 10-day quarantine
            period should re-start for the remainder of the cohort.
        -   If any person in the quarantine cohort develops symptoms, refer to the section titled Testing persons with signs or
            symptoms consistent with COVID-19, regardless of their vaccination and booster status.

  •   Testing people with prior diagnosis of SARS-CoV-2 infection: People who have recovered from SARS-CoV-2 infection
      within the past 90 days and have been re-exposed to SARS-CoV-2 may not need to be tested but should still receive
      regular temperature and symptom screening checks. If a person develops new symptoms during the 90-day period after
      their initial infection, and an evaluation fails to identify a diagnosis other than SARS-CoV-2 infection (e.g., influenza), then
      the person warrants evaluation for SARS-CoV-2 reinfection in consultation with an infectious disease or infection control
      expert.

Medical isolation might be warranted before and during this evaluation, particularly if symptoms developed after close
contact with an infected person or in association with an outbreak setting. If more than 90 days have passed since a prior
SARS-CoV-2 infection, testing and management, including quarantine and medical isolation if indicated, should proceed as it
would for someone who had not previously been diagnosed with SARS-CoV-2 infection. Facilities should also consider the
potential for coinfection of influenza and COVID-19.


C. Screening testing
Screening testing is intended to identify people infected with SARS-CoV-2 who are asymptomatic or pre-symptomatic and do
not have known, suspected, or reported exposure to SARS-CoV-2. NAATs, antigen tests, or both can be used for screening
testing. Screening testing can be a valuable tool in correctional and detention facilities because it can detect SARS-CoV-2 early
to help stop transmission quickly. Screening testing may be particularly useful in areas with moderate to high community
transmission, to catch asymptomatic infections early.


Movement-based screening testing
Movement-based screening testing is the routine screening testing of residents at intake, before transfer to another facility,
and before community visits or release. All residents, regardless of vaccination and booster status, should undergo testing at
these time points to help prevent introduction of virus into the facility, across facilities, and from the facility into the
community.


Screening testing based on movement should include testing for residents in the following scenarios:


  •   At intake. Test all incoming residents at intake, and house them separately from the rest of the facility’s population
      (individually if feasible) while waiting for test results. Testing can be combined with a 10-day observation period
      (sometimes referred to as “routine intake quarantine”) before persons are assigned housing with the rest of the facility’s
      population (especially if community transmission high). People under routine intake quarantine should be quarantined
      separately from those quarantined due to exposure to COVID-19. If incoming residents undergo intake quarantine,
      consider re-testing them at the end of the intake quarantine period before they are assigned housing with the rest of the
      facility’s population. If residents undergo intake quarantine as a cohort, consider testing every 3–7 days if community
      transmission is high to prevent transmission within the cohort.
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     •   Before transfer to another facility. Test all residents before transfer to another correctional/detention facility. Wait for a
         negative test result before transfer. Testing before transfer can be combined with a 10-day observation period
         (sometimes referred to as “routine transfer quarantine”) before an individual’s projected transfer. People under routine
         transfer quarantine should be quarantined separately from those quarantined due to exposure to COVID-19. Routine
         transfer quarantine is recommended particularly when there is transmission known to be occurring within the
         originating facility.

     •   Before release. Test residents leaving the facility as close as possible (and no more than 3 days prior) to the day of the
         release (whether into the community or to a halfway house or other transitional location). Testing before release is
         particularly important if residents will be housed in other congregate settings (e.g., homeless shelters, group homes, or
         halfway houses) or in households with persons who are at higher risk of severe illness from COVID-19, including older
         adults and people with certain medical conditions. Testing before release can be combined with a 10-day observation
         period (sometimes referred to as “routine release quarantine”) before a person’s release date. People under routine
         release quarantine should be quarantined separately from those quarantined due to exposure to COVID-19. Notify
         public health authorities for assistance arranging medical isolation upon release for people who have a positive test
         result.

     •   Before community visits. If performing testing before community visits, test residents leaving the facility as close as
         possible (and no more than 3 days prior) to the day of the visit (e.g., medical trips, court appearances, community
         programs). If community transmission is high, facilities can consider testing 5 days after return.


Routine screening testing
Routine screening testing is the regular testing of all or a subset of residents and staff in a facility, with the goal of identifying
COVID-19 cases early to prevent widespread transmission. Routine screening testing can include point-of-care testing and
laboratory testing, and it can include all residents and staff members in a facility, or a targeted or random subgroup according
to criteria the facility designates (examples below).

For any routine screening testing strategy that is put in place, testing at least weekly is recommended. Routine screening
testing programs ideally include both residents and staff. If staff are tested during routine screening testing, consider testing
them on the first day of their work week  (defined as four or more consecutive work days), rather than randomly or
regularly on another day of the work week, if feasible. If community prevalence increases rapidly, consider more frequent
testing. If performing large scale testing on-site, consider staggering testing throughout the day or on different days to avoid
overcrowding, long wait times, and burden on testing staff. If it is not feasible to test staff as part of a screening testing
program, facilities should investigate options to work with community partners or state/local health departments to test staff.

Data on facility and community transmission level and testing capacity can guide decisions about when to implement routine
screening testing strategies. Consider routine screening testing when community transmission is substantial or high (Table 2).
The community transmission indicators below can be found for your county on CDC’s COVID Data Tracker website.


Table 2. Indicators of Community Transmission*



    Indicator                                                                                   Low          Moderate        Substantial      High


    Cumulative number of new cases per 100,000 persons within the last                          <10            10–49            50–99         >100
    7 days†

    Percentage of NAATs§ that were positive during the last 7 days¶                             <5%           5%–7.9%         8%–9.9%         >10%

*
    If the two indicators suggest different transmission levels, the higher level should be selected.
†   Number of new cases in the county (or other administrative level) in the last 7 days divided by the population in the county (or other
administrative level) multiplied by 100,000.
§   Nucleic acid amplification tests
¶
    Number of positive test results in the county (or other administrative level) during the last 7 days divided by the total number of tests resulted
in the county (or other administrative level) during the last 7 days. See “Calculating Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-
CoV-2) Laboratory Test Percent Positivity: CDC Methods and Considerations for Comparisons and Interpretation.”
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If routine screening testing is conducted only among a subset of individuals or facilities within a correctional system, the
following factors can guide the prioritization and selection of the subset:

Facility-level factors


  •   Facilities that have had cases or outbreaks within the past month

  •   Housing units where preventive measures such as physical distancing or adequate ventilation are difficult to implement
      (e.g., dormitory-based housing)

  •   Facilities allowing in-person visitation

  •   Facilities with high levels of community movement (e.g., frequent off-site medical visits, work release, or court
      appearances)

  •   Facilities with frequent admissions of new residents or residents transferring in from other facilities

  •   Units within facilities, as well as facilities within a correctional system, housing resident populations at higher risk of
      severe illness from COVID-19

Individual-level factors


  •   Residents and staff members who are at higher risk of severe illness from COVID-19†

  •   Residents assigned to critical on-site work details within the facility that require them to leave their housing unit or mix
      with persons in other housing units (e.g., food service, laundry)

  •   Residents participating in:
        -   Work release programs
        -   Off-site medical visits
        -   Court appearances

  •   Staff working in:
        -   A facility designated for medical care (e.g., medical facility, long-term care or skilled nursing facility)
        -   Multiple areas of the facility
        -   Multiple congregate facilities (e.g., more than one correctional/detention facility, homeless shelters, group homes,
            or schools)

  •   Staff members who live or spend time with other staff members who work in other areas of the facility (e.g., family or
      household members, carpools)




6. Medical isolation and quarantine
Medical isolation refers to the physical separation of an individual with confirmed or suspected COVID-19 infection to prevent
their contact with others and reduce the risk of transmission. In this context, isolation does NOT refer to punitive isolation for
behavioral infractions within the custodial setting. Staff are encouraged to use the term “medical isolation” to avoid confusion,
and should ensure that the conditions in medical isolation spaces are distinct from those in punitive isolation. Residents in
medical isolation should receive regular visits from medical staff and should have access to mental health services.

Quarantine refers to the physical separation of an individual who has had close contact with someone with confirmed or
suspected COVID-19 to determine whether they develop symptoms or test positive for the disease. Quarantine reduces the
risk of transmission to others if the individual is later found to have COVID-19.


Facilities should have a plan in place to ensure that separate physical locations (dedicated housing areas and bathrooms)
have been identified to:


  •   Medically isolate residents with suspected COVID-19 (ideally individually while awaiting test results)

  •   Medically isolate residents with confirmed COVID-19 (individually or as a cohort)

  •   Quarantine residents identified as close contacts of those with confirmed or suspected COVID-19 (ideally individually, but
      as a cohort if necessary)
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Facilities’ medical isolation and quarantine plans should include expansion contingencies to prepare for surges in cases
and/or close contacts. Regardless of the location, facilities should ensure that placement in medical isolation or quarantine
does not create barriers to access to medical or mental health care.

Note that facilities may determine that single-cell housing is not advisable in some situations due to mental health concerns.
If close contacts are quarantined as a cohort, keep the number housed together as small as possible to minimize the risk of
further transmission.

Residents with confirmed COVID-19 may be housed in medical isolation as a cohort (rather than in single cells). Cohorting
residents during medical isolation can mitigate some mental health concerns associated with individual isolation and can
increase capacity for medical isolation during case surges. Considerations for cohorted medical isolation include:


  •   Only residents with laboratory-confirmed COVID-19 should be housed together as a cohort. Do not cohort those with
      confirmed COVID-19 together with those with suspected COVID-19, with close contacts of people with confirmed or
      suspected COVID-19, or with those with other illnesses.

  •   When choosing a space to cohort groups of residents with confirmed COVID-19, use a single, large, well-ventilated room
      with solid walls and a solid door that closes fully. Using a single room will conserve PPE and reduce the chance of cross-
      contamination across different parts of the facility.

Movement of residents who are housed in medical isolation or quarantine units should be restricted as follows:


  •   Keep residents’ movement outside the medical isolation/quarantine space to an absolute minimum.

  •   Serve meals inside the medical isolation/quarantine space.

  •   Provide medical care inside the medical isolation/quarantine space, unless it is not physically possible to do so, or unless
      a resident needs to be transferred to a healthcare facility.

  •   Exclude medically isolated/quarantined residents from all group activities outside the medical isolation/quarantine
      space.

  •   Where possible, restrict medically isolated/quarantined residents from leaving the facility (including transfers to other
      facilities) during the medical isolation/quarantine period, unless released from custody or a transfer is necessary for
      medical care, infection control, lack of medical isolation/quarantine space, or extenuating correctional, judicial, or
      security concerns.

  •   Staff assignments to quarantine spaces should remain as consistent as possible, and these staff members should limit
      their movements to other parts of the facility. These staff members should wear recommended PPE appropriate for
      their level of contact with people under medical isolation/quarantine. See PPE section below.

  •   Clean and disinfect areas used by people with COVID-19 on an ongoing basis during medical isolation.


A. Clearly communicate to residents and staff that quarantine and
medical isolation are not intended to be punitive
Because of limited individual housing spaces within many correctional and detention facilities, infected or exposed people are
often placed in the same housing spaces that are used for administrative or disciplinary segregation. To avoid being placed in
these conditions, residents may be hesitant to report COVID-19 symptoms or close contact with people with COVID-19,
leading to continued transmission within shared housing spaces and, potentially, lack of timely health care and greater risk of
adverse health outcomes for people infected with SARS-CoV-2 who delay reporting symptoms. Ensure that medical isolation
and quarantine are operationally distinct from administrative or disciplinary segregation, even if the same housing spaces are
used for both. For example


  •   Make efforts to provide similar access to radio, TV, reading materials, personal property, commissary, showers, and
      other resources as would be available in individuals’ regular housing units.

  •   To support mental health, consider allowing increased telephone time or other opportunities to communicate with
      others inside and outside the facility during the isolation or quarantine period.

  •   Communicate regularly with residents who are in medical isolation or quarantine about the duration and purpose.

  •   Ensure that staff understand that the same restrictions placed on residents in segregated housing when used for
      disciplinary reasons should not be applied to residents housed in the same spaces for COVID-9 related reasons.
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B. Medical isolation for people with suspected COVID-19
As soon as a resident shows symptoms of COVID-19, they should be given a cloth or disposable procedure mask or respirator
(if not already wearing one and if it can be worn safely), immediately placed under medical isolation in a separate
environment from other people (ideally individually), and medically evaluated and tested for SARS-CoV-2. Facilities without
onsite healthcare capacity to medically evaluate and/or treat residents with suspected COVID-19 should have a plan in place
to ensure that timely evaluation and treatment take place through an offsite medical facility, additional healthcare providers,
or other means.


  •   If the resident’s SARS-CoV-2 test result is positive, they can be moved to a cohorted medical isolation unit with other
      people with confirmed COVID-19.

  •   If the SARS-CoV-2 test result is negative, the person can return to their prior housing assignment unless they require
      further medical assessment or care or if they need to be quarantined as a close contact of someone with COVID-19.

Residents who are medically isolated due to suspected COVID-19 should wear cloth or disposable procedure masks or
respirators under the following circumstances:


  •   Whenever another individual enters the medical isolation space

  •   If the resident leaves the medical isolation space for any reason

The clinical staff evaluating and providing care for people with confirmed or suspected COVID-19 should follow the CDC
Interim Clinical Guidance for Management of Patients with Confirmed Coronavirus Disease (COVID-19), including wearing
recommended PPE, and monitoring the guidance website regularly for updates to these recommendations.


C. Medical isolation for people with confirmed COVID-19
As soon as a person tests positive for SARS-CoV-2 they should be given a cloth or disposable procedure mask or respirator (if
not already wearing one and if it can be worn safely), immediately placed under medical isolation in a separate environment
from other people (individually or in a cohort with other people with confirmed COVID-19), and medically evaluated. Medical
isolation can be discontinued 10 days after symptom onset and after resolution of fever for at least 24 hours, without the use
of fever-reducing medications, and with improvement of other symptoms. See section below on recommended duration of
medical isolation during short-term periods of crisis-level operations (e.g., severe staffing or space shortages).

Facilities without onsite healthcare capacity to medically evaluate and/or treat residents with suspected COVID-19 should
have a plan in place to ensure that timely evaluation and treatment take place through an offsite medical facility, additional
healthcare providers, or other means.


Residents who are medically isolated should wear cloth or disposable procedure masks or respirators under the following
circumstances:


  •   Whenever another individual enters the medical isolation space (excluding others with confirmed COVID-19)

  •   If the resident leaves the medical isolation space for any reason

The clinical staff evaluating and providing care for people with confirmed or suspected COVID-19 should follow the CDC
Interim Clinical Guidance for Management of Patients with Confirmed Coronavirus Disease (COVID-19), including wearing
recommended PPE, and monitoring the guidance website regularly for updates to these recommendations.


D. Quarantine of close contacts of those with confirmed or suspected
COVID-19
Regardless of vaccination and booster status, residents who have been in close contact with someone with confirmed or
suspected COVID-19 (whether the infected person is another resident, staff member, or visitor) should receive an initial
diagnostic test as soon as possible after they have been identified as a close contact (but not within the first 24 hours after
exposure/close contact, since a test is unlikely to be positive that quickly) and should quarantine for 10 days. If the initial test
is negative, they should receive a second diagnostic test at least 5 days after the exposure/close contact. (If the initial test was
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performed at least 5 days after the exposure/close contact, a second test is not needed.) If an individual is quarantined due to
close contact with someone with suspected COVID-19 who is subsequently tested and receives a negative result, they can be
released from quarantine.


Residents who are quarantined should be monitored for COVID-19 symptoms at least once per day, including temperature
checks. If a resident develops symptoms, they should be considered a person with suspected COVID-19. Follow procedures
detailed above for medical isolation of people with suspected COVID-19.


Quarantined residents can be released from quarantine restrictions if they remain asymptomatic and have not tested positive
for SARS-CoV-2 during the 10 days since their last potential exposure or known close contact with someone with confirmed
COVID-19 (if that person was tested) or suspected COVID-19 (if that person was not tested). Ending quarantine before 10 days
have passed is not recommended, even with a negative test. See section below on recommended duration of quarantine
during short-term periods of crisis-level operations (e.g., severe staffing or space shortages).

Quarantined residents should wear cloth or disposable procedure masks or respirators under the following circumstances:


  •   Whenever another individual enters a quarantine space that is occupied by a single resident

  •   When quarantined residents are housed as a cohort

  •   If a resident under quarantine leaves the quarantine space for any reason


E. Cohorted Quarantine
Facilities should make every possible effort to individually quarantine close contacts of residents with confirmed or suspected
COVID-19 unless mental health concerns preclude individual housing. Cohorting multiple quarantined close contacts could
result in transmission of SARS-CoV-2 from those who are infected to those who are uninfected. If cohorted quarantine is
necessary, reduce transmission risk by selecting the housing spaces that:


  •   Are well ventilated

  •   Minimize the number of residents sharing the housing space

  •   Maximize the physical distance between residents sharing the housing space

  •   Are physically separated (i.e., solid walls and solid doors) from non-quarantine spaces


If cohorting close contacts is necessary, be especially mindful of those who are at increased risk for severe COVID-19
illness. Ideally, they should not be cohorted with other quarantined residents. If cohorting is unavoidable, make all possible
accommodations to reduce exposure for residents with increased risk of severe illness. (For example, intensify physical
distancing strategies for residents with increased risk.)


F. Quarantine for staff members
All staff members who have been exposed to someone with COVID-19 should be advised to seek testing and should be
excluded from work for 10 days after their last exposure, regardless of their vaccination and booster status. (However, staff
may use the guidance for the general public for duration of quarantine when they are not at work.) See section below on
recommended quarantine duration for staff during short-term periods of crisis operations (e.g., severe staffing shortages).


  •   If quarantine duration is reduced for staff members during crisis-level operations, then facility management should
      require exposed staff members to:
        -   Continue to self-monitor for symptoms of COVID-19 through day 10 after known or suspected exposure to or close
            contact with a person with COVID-19
        -   Immediately isolate if symptoms of COVID-19 occur
        -   Adhere to all recommended prevention strategies, including wearing a well-fitting mask or respirator, physical
            distancing, and maintaining good hand hygiene


G. Shortening quarantine or isolation during crisis-level operations
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In December 2021, CDC updated and shortened the recommended quarantine (after potential exposure or close contact with
someone with COVID-19) and isolation (after testing positive) periods for the general public. Because of the potential for
rapid, widespread transmission of SARS-CoV-2 in congregate environments and evidence  that people who are fully
vaccinated can transmit the virus to others, CDC recommends maintaining 10-day isolation and quarantine periods for both
residents and staff in high-risk congregate settings, including correctional and detention facilities. (However, staff may use the
guidance for the general public for duration of quarantine and isolation when they are not at work.)

These recommended 10-day quarantine and isolation periods are preferred, to reduce the risk of transmission. During crisis-
level operations (examples below), facilities may need to consider short-term alternatives to the recommended 10-day
quarantine and/or isolation periods for staff and/or residents. Because each facility’s resource constraints, population, and
transmission risks are unique, there is not a standard set of alternate strategies that CDC recommends for all correctional and
detention facilities to follow under crisis-level operations. Facilities should consult their state, local, territorial, or tribal health
department to discuss approaches that would meet their needs while maximizing infection control during these short-term
periods.

Examples of crisis-level operation scenarios:


  •   Staffing shortages threaten to compromise the safety and security of the facility or the continuity of essential operations.

  •   There is insufficient space to isolate/quarantine all residents who have been infected/exposed for the full 10-day periods,
      and other options to increase space have been exhausted.

Once the period of crisis-level operations has passed, facilities should return to the recommendations for periods of routine
operations (10 days for quarantine and isolation). Facilities should ensure that both residents and staff understand that
reduced quarantine and/or isolation protocols are short-term, crisis-management tools and that the facility will return to the
full 10-day quarantine and isolation recommendations.

The following are guiding principles for reducing quarantine and/or isolation periods during crisis-level operations:


  •   Reductions in duration should be as minimal as possible to mitigate the crisis scenario.

  •   Decisions to shorten duration should be made independently for staff and for residents, based on the specific resources
      that are constrained at the time. (For example, shortening isolation and/or quarantine for staff due to staffing shortages
      would not automatically trigger shortened duration for residents as well.)

  •   Before reducing quarantine and/or isolation duration, consider alternatives (e.g., shifting from individual to cohorted
      isolation units for residents or reducing the resident population).

  •   Take into consideration the risk of transmission within the facility (e.g., layout) and the risk profile of the facility’s
      population.

  •   Consider reducing quarantine duration for groups at lower risk of infection first (e.g., those who are up to date on their
      COVID-19 vaccines).

  •   If crisis-level protocols allow infected staff to return to work before 10 days of isolation, the risk of transmission can be
      reduced by assigning them to work exclusively in isolation units or in assignments where they have minimal contact with
      others until day 10.

  •   If a facility shortens quarantine and/or isolation, it is possible to incorporate negative test results into these protocols
      (i.e., “test-out” strategies). The following factors are necessary for facilities to incorporate test-out strategies without
      compromising essential functions:
        -   Sufficient testing supplies and staff capacity to maintain recommended diagnostic testing and screening testing at
            intake (see section above on testing)
        -   Fast turn-around time to inform timely decision-making

        -   Sufficient staff capacity to continue to prioritize care and treatment for residents at high risk for severe COVID-19
        -   Note that test-out strategies to reduce isolation periods should be based on negative results from two consecutive
            respiratory specimens collected ≥24 hours apart.


In facilities with severe resource constraints during crisis-level operations, it may be necessary to modify other COVID-19
prevention measures detailed elsewhere in this document, in order to prioritize the prevention of severe outcomes from
COVID-19. Facilities should consult their state, local, territorial, or tribal health department if they are considering such short-
term modifications.
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7. Medication for prevention of severe disease
The FDA has expanded EUAs for use of certain investigational monoclonal antibody medications to prevent SARS-CoV-2
infection,, including in correctional populations, under the following conditions:


  •   There is an occurrence of COVID-19 in other individuals in the same institutional setting, and;

  •   The patient being treated is not fully vaccinated or is not expected to mount an adequate immune response to complete
      COVID-19 vaccination, and;

  •   The patient being treated is at higher risk for progression to severe COVID-19, including hospitalization or death (e.g.,
      they have certain comorbidities).

In addition, antiviral medications are now available that are effective in preventing severe outcomes from COVID-19. These
medications can be ordered at no cost either through the office of the Assistant Secretary for Preparedness and Response
(ASPR) within the Department of Health and Human Services, the manufacturer, or possibly through their usual mechanism
for obtaining medications. The National Institute of Health COVID-19 Treatment Guidelines  provide information about
these drugs and describe what is known about their effectiveness.

Medications are not a substitute for vaccination. Corrections management should consult facility healthcare providers about
their use for post-exposure prophylaxis.




8. Considerations for reentry programming
  •   If a person preparing for release is not up to date on their COVID-19 vaccines, offer vaccination again. If they decline,
      provide them with information about where they can get vaccinated after release.

  •   Provide screening testing before release for all residents, regardless of COVID-19 vaccination and booster status.

  •   Ensure that facility reentry programs include information on accessing:


  •       -   Housing, social services, mental health services, and medical care, including medication-assisted treatment for
              opioid use disorder to substance use, harm reduction, and/or recovery support  . Ensure that linkages to
              community services account for modified operations of providers due to COVID-19.
          -   Medicaid enrollment and healthcare resources,  including continuity of care for chronic conditions that may
              place a person at increased risk for severe illness from COVID-19 (e.g., HIV, hepatitis, tuberculosis, etc.).


  •   Provide residents about to be released with COVID-19 prevention information, hand hygiene supplies, and masks or
      respirators.

  •   When possible, encourage residents who are being released to seek housing options among their family or friends in the
      community, to prevent crowding in other congregate settings such as homeless shelters. When linking residents to
      shared housing, link preferentially to accommodations with the greatest capacity for physical distancing.




Previous Updates

   Updates from Previous Content
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  As of June 9, 2021


      •   Considerations for modifying COVID-19 prevention measures in correctional and detention facilities in response to
          declining community transmission

  As of May 6, 2021
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  •   Updated cleaning and disinfection information

As of February 19, 2021


  •   Clarification that correctional and detention facilities should continue to use a 14-day quarantine period.
      Recommendations for quarantine duration in correctional and detention facilities

  •   Updated language on quarantine recommendations

  •   Updated language on quarantine recommendations

  •   Updated language for the close contact definition.

  •   Updated criteria for releasing individuals with confirmed COVID-19 from medical isolation (symptom-based
      approach).

  •   Added link to CDC Guidance for Performing Broad-Based Testing for SARS-CoV-2 in Congregate Settings

  •   Reorganized information on Quarantine into 4 sections: Contact Tracing, Testing Close Contacts, Quarantine
      Practices, and Cohorted Quarantine for Multiple Close Contacts

  •   Added testing and contact tracing considerations for incarcerated/detained persons (including testing newly
      incarcerated or detained persons at intake; testing close contacts of cases; repeated testing of persons in cohorts
      of quarantined close contacts; testing before release). Linked to more detailed Interim Considerations for SARS-
      CoV-2 Testing in Correctional and Detention Facilities.

  •   Added recommendation to consider testing and a 14-day quarantine for individuals preparing for release or
      transfer to another facility.

  •   Added recommendation that confirmed COVID-19 cases may be medically isolated as a cohort. (Suspected cases
      should be isolated individually.)

  •   Reduced recommended frequency of symptom screening for quarantined individuals to once per day (from twice
      per day).

  •   Added recommendation to ensure that PPE donning/doffing stations are set up directly outside spaces requiring
      PPE. Train staff to move from areas of lower to higher risk of exposure if they must re-use PPE due to shortages.

  •   Added recommendation to organize staff assignments so that the same staff are assigned to the same areas of
      the facility over time, to reduce the risk of transmission through staff movements.

  •   Added recommendation to suspend work release programs, especially those within other congregate settings,
      when there is a COVID-19 case in the correctional or detention facility.

  •   Added recommendation to modify work details so that they only include incarcerated/detained persons from a
      single housing unit.

  •   Added considerations for safely transporting individuals with COVID-19 or their close contacts.

  •   Added considerations for release and re-entry planning in the context of COVID-19.



                                                                                                         Last Updated Feb. 10, 2022
